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UNITED STATES DISTRICT COURT oy
FOR THE DISTRICT OF MASSACHUSETTS. © “0

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MDL NO. 1456 Lee

)

IN RE: PHARMACEUTICAL INDUSTRY _ )

AVERAGE WHOLESALE PRICE )

LITIGATION ) CIVIL ACTION NO. 01-CV-12257-PBS
)

THIS DOCUMENT RELATES TO ) Judge Patti B. Saris

ALL ACTIONS )

INDIVIDUAL MEMORANDUM OF FUJISAWA HEALTHCARE, INC. AND
FUJISAWA USA, INC. INSUPPORT OF THE MOTION TO DISMISS
THE AMENDED MASTER CONSOLIDATED CLASS ACTION COMPLAINT

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INTRODUCTION

Defendants Fujisawa Healthcare, Inc. and Fujisawa USA, Inc. (collectively referred to as
“Fujisawa”) submit this brief in further support of the Motion to Dismiss the Amended Master
Consolidated Class Action Complaint (“AMCC”), The AMCC fails to state a claim against
Fujisawa because it does not plead the basic elements of the purported AWP fraud against
Fujisawa with particularity. The most jarring example of this is Plaintiffs’ allegation that
Fujisawa reported AWPs for certain drugs when, in fact, it is evident from the Red Book that
Plaintiffs made up those AWPs.

ARGUMENT

The AMCC begins with broad sweeping allegations that the “Defendant Drug
Manufacturers” inflated the AWPs of unspecified drugs. See, e.g, AMCC at 6 (“Defendant
Drug Manufacturers often promoted their drugs ... based on a fictitious and inflated AWP”);
AMCC at 4 5 (‘AWP is a benchmark from which hundreds of drug prices are derived in
transactions throughout the pharmaceutical distribution chain”) (emphasis added).

“At a minimum, Rule 9(b) requires that a plaintiff set forth the ‘who, what, when, where
and how’ of the alleged fraud.” Gublo v. NovaCare, Inc., 62 F. Supp.2d 347, 354 (D. Mass.
1999). The Rule must be applied to claims brought under RICO and state consumer fraud
_ Statutes because they are based on averments of fraud. See Doyle v, Hasbro, Inc., 103 F.3d 186
(1 Cir. 1996) (RICO); Varney v. R.J. Reynolds Tobacco Co., 118 F. Supp.2d 63 (D. Mass. 2000)
(consumer fraud acts). Moreover, Fujisawa is entitled to know the specific facts that constitute
its purported fraud. See Vicom, Ine. v. Harbridge Merchant Services, Znc., 20 F.3d 771, 778 (7
Cir. 1994) (RICO complaint dismissed where it “lumped together multiple defendants” and did

not “inform each defendant of the nature of his alleged participation in the fraud.”).
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Paragraphs 364 through 374 contain the only allegations of the AMCC that refer
specifically to Fujisawa, and they do not satisfy the requirements of Rule 9{b) with respect to any
of Fujisawa’s products.' These paragraphs allege that Fujisawa stated fraudulent AWPs for five
brand name drugs (Aristocort, Aristospan, Cefizox, Cyclocort and Prograf). See 1370 and
Appendix A. The AMCC also purports to state AWPs for ei ght Fujisawa multi-source generic
drugs (acyclovir, dexamethasone, doxorubicin, fluorouracil, gentamicin, pentamidine,
vancomycin, and vinblastin).? Jd.

The Court unambiguously stated in its Memorandum Opinion and Order of May 13, 2003
(“May 13 Order”) that the Plaintiffs must plead “the allegedly fraudulent AWP for each drug.”
May 13 Order at 45. With respect to the five Fujisawa brand name drugs, the AMCC manages to
allege the AWPs as they appear in the Red Book for the years indicated. While the AMCC
conclusorily labels these AWP figures as “fraudulent,” it is entirely devoid of any explanation of
what constitutes the fraud. There is no allegation as to what AWP would have been acceptable
(i.e., non-fraudulent) to Plaintiffs. Are Plaintiffs claiming that a published AWP is fraudulent
unless it exactly matched the invoice sales price? Or is it only if the AWP exceeded the actual
sales price by some percentage? If so, by what percentage? Fujisawa should not have to guess
at the answers to these fundamental questions. Rule 9(b) requires that plaintiffs allege their

theory of fraud with particularity and they have failed to do so.

! The AMCC also makes conclusory allegations against Defendants for which no facts
relating to Fujisawa are provided. See, e.g., “Improper Use of Free Samples,” AMCC at
77 164-166. The AMCC does not allege a single fact regarding Fujisawa’s use of free
samples. Therefore, claims as to free samples must be dismissed as they relate to
Fujisawa.

? For the reasons stated in the common brief on behalf of all the Defendants at pp. 37-40,
all claims of the AMCC conceming multi-source generic drugs should be dismissed as
against Fujisawa.
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With respect to the AWPs of the eight multi-source drugs, the insufficiency of the AMCC
is even more dramatic. For these drugs the plaintiffs have simply fabricated alleged AWPs
which they say appear in the Red Book, but which in fact do not. Fujisawa AWPs for acyclovir,
dexamethasone, doxorubicin, fluorouracil, gentamicin, pentamidine, vancomycin and vinblastin,
which Plaintiffs allege were published in the 1999, 2000, and 2001 Red Books, do not exist. The
actual pages of the Red Books showing the complete listing for each of these drugs with every
available generic from every manufacturer are attached as Exhibit A to this memorandum?
There are no entries for Fujisawa AWPs for any of these drugs. The only fraud here is the
Plaintiffs’ false assertion of their fabricated AWPs.

In addition to not setting forth the AWPs of the Fujisawa drugs as the Court required, the
AMCC fails to allege any specific transaction in which any plaintiff paid a particular price for
any Fujisawa drug. The Plaintiffs who seek damages in this case are employee health and
welfare benefit plans. These are sophisticated commercial entities that pay pharmacies for the
prescriptions filled for their members. AMCC at Tf 6, 26-36. The AMCC generally alleges that
the “Defendant Drug Manufacturers” engaged in a pattern of inflating AWPs that caused the
plans “to substantially overpay” for drugs. /d. at 1140. Where, as here, the essence of the fraud
is that the plaintiff was overcharged, it is hard to imagine a more crucial fact than how much the

purportedly overcharged party paid.‘

The Court may consider the attached actual excerpts from the Red Book in deciding the
present motion without converting it to a Rule 56 motion, insofar as Plaintiffs purport to
quote from the Red Book in the AMCC. See Watterson v. Page, 987 F.2d 1, 3 (1st Cir.
1993) (Court will consider “documents central to the plaintiffs’ claims” as well as
documents “ sufficiently referred to in the complaint.”),

4 See, e.g., Farberware, Inc. v. Groben, 764 F. Supp. 296, 303 (S.D.N.Y. 1991) (in RICO
case against former employees who received kickbacks from vendors for inflating prices
to the corporation, Rule 9 required plaintiff to plead the amount of the overcharge);
Oppenheimer v. Prudential Sec. Inc., 94 F.3d 189 (5" Cir. 1996) {under Rule 9, plaintiff

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Nowhere in the 300 pages of the AMCC does any Plaintiff allege how much it paid for
any Fujisawa drug. It is not enough to say that Plaintiffs overpaid because F ujisawa inflated its
AWPs, and drug prices were generally based on AWPs.* Rule 9(b) mandates that the Plaintiffs
allege specific facts to explain the “what” and “when” of the fraud. Whether and when there
was, in fact, a fraudulent AWP for a specific drug that produced an improper “spread,” depends
on the price paid for that drug by a particular plaintiff.° These specific facts are at the heart of
the alleged fraud and Fujisawa is entitled to know {at least by example, if the number of
prescriptions is voluminous), what each plaintiff paid for each drug at issue. As a practical
matter, the Plaintiffs cannot carry the burden, imposed by Rule 9(b), of pleading the prices they
paid in real transactions for specific Fujisawa drugs because they do not even claim to have
purchased most of the Fujisawa drugs identified in the AMCC.

To have standing, a plaintiff must allege a personal injury that flows from the defendant's
allegedly unlawful conduct. Allen v. Wright , 468 U.S. 737, 751 (1984). Here, if the Plaintiffs
did not actually purchase a particular drug, they could not have overpaid (or suffered any injury,
for that matter) as a result of that drug’s allegedly inflated AWP. It is clear from Appendix B to

the AMCC that the Plaintiffs claim to have purchased only four Fujisawa drugs: Aristocort,

claiming fraud based on hidden sales charges by broker must plead the actual amount of
the alleged overcharge).

5 This is in stark contrast to the Original Consolidated Complaint in this case, where the
claims against Fujisawa were limited to those of Medicare beneficiaries who paid the
deductible for drugs reimbursed by Medicare Part B. When Medicare reimburses a
provider for a drug covered under Part B, the price paid for the drug is easily calculated
from the AWP and the Medicare statute: 80% of 95% of the AWP, and the “co-pay” for
the user of the drug (paid either personally or by their insurance plan) is 20% of 95% of
the AWP. AMCC at 4 147, 152 (citing 42 C.F.R. § 405.517).

6 The only specific allegations of the AMCC to the effect that F Wjisawa inflated an AWP to
increase the spread are the quotations from an internal 1995 sales report concerning
vancomycin. AMCC at J 68. However, Plaintiffs do not allege that any one of them ever
purchased vancomycin.
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Cyclocort, Prograf and gentimicin. Thus, the Plaintiffs fail to meet their burden of pleading facts
to support standing as to any other Fujisawa products, including, without limitation, Aristospan,
Cefizox, acyclovir, dexamethasone, doxorubicin, fluorouracil, pentamidine, vancomycin and
vinblastin. See In re Paracelsus Corp., 6 F. Supp.2d 626, 631 (S.D. Tex. 1998) (dismissing class
action securities claims where plaintiffs did not allege they had purchased the securities which
were the subject of the case, even though nominal class allegedly had); Thompson v. Board of
Education of the Romeo Community Schools, 709 F.2d 1200, 1205 (6" Cir. 1983) (dismissing
class action claims for discrimination where plaintiffs had never been employed by defendants,
even though nominal class members had).

Thus, in addition to the fatal failure of the AMCC to plead fraud with specificity as to all
of Fujisawa drugs identified in the AMCC, the claims against Fujisawa relating to drugs other
than Aristocort, Cyclocort, Prograf and gentamicin must be dismissed on the grounds that the
Plaintiffs have suffered no injury and therefore lack standing.

CONCLUSION

The AMCC utterly fails to state any claim for fraud against Fujisawa. While Plaintiffs
complain that Fujisawa’s AWPs were inflated, after 2 years and multiple attempts, they cannot
articulate what the AWPs should have been nor how much they actually paid for Fujisawa’s
drugs. And where they do allege specific facts -- AWPs purportedly set by Fujisawa -- it tums
out that the Plaintiffs have made them up out of whoie cloth. Consequently, the AMCC should

be dismissed with prejudice in its entirety as against Fujisawa.
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Dated: August 1, 2003
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EXHIBIT
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“A381
68.21 -

15,98 12.30 AP.

4 mom, 1 mi 25s.. pom, 27.50

5.20

fi (WDM) * i
4 mom, § mil 285... 00708-3513-04 $5.50
“10 mpm 10 mi... »O0703-3824-41 ©

(Hyrax) Sea SOLUREX

(Legere) Sea DEXASONE |

(Majer) “ae

SOL, oP, 0. 1%, 5 ml

(McGuif) ht

WW (Mow) =

4 mom, § m.. anes 49072- eu57-08 .

(Modtaca}
POW, (U8. A
fgm..
. 10gm..
"ag om... wees
(Metek) See DECADRON
(Marck) See DECADROW OCUMETER

{Meridian Chemical}

POW, (U.S.P}
1om.. . 82901-1841-01
Sgm.. .-62901-1041-€2

10 gm. + 82001-1841-03
ZS OM ee eassceees 62991-1041-04
{Marz) See DECAJECT
(Moore,H.L.)
INJ, bd (VIAL)
4 an 5 mi “00839-51 60-25

es vecaes + 00839-5180-38
00839-8663-25

(Ocumed) See OCU-DEX
{Oeusott) See DEXASOL

(Paddock)
POW, (U.S.P}

{Pharme Pac)

SOL, OF 0.1%, Smt... 52059-1352-03

{Phys Total Cars)
INE. [J (MLD.V}
4 mom, fmi......., 54a63-0871-00
(VIAL)
4 mg/ml, 30 mi....... 64568-0871-06
OFM, OF, 0.05%,49m..... 54868-2105-01
SOL, OF 0.1% 5 mt ...._. 54068-3120-09

(Primedics) See PAIMETHASONE
(Qualitect;

SOL, OP 0.1%, 5m... 00603-7105-37

(Raway)
ING, 1d {VIAL}

4 mo/ml, + mi 255. ,., 006R5-4001-25
OIN, OP, 0.05%, 3.750 om, OD5N5-0040-55
SOL, OP, 0.1%, 5mi...... 00866-0720-07

IXCOreLO AY ed WO 6

.00574-0408-05
00574-0408-10

50.63".
112.50
+ S8770-0071-04 | 257.63

24.20
91.30
174.90
385.00

57,60
99.90

7.67

3.45
4.63
4.58
4.87

14,69

23.00

3.20
4.25

x PRODUCT LISTINGS

Pua

peeeeene G0536-4151-65 6.00
TA eee c ee eee ces 00536-4151-75 13.62
z50L. oF 0.1%, Fmd oo... Q0536-0800-85 3.08

chain}
i W(M.0.¥}
— ¢ema/mil, ta 25s. ... 00364-6681-32 93.04
avec eeee eens 00364-6641-56 15.02

teens 00402-0807-39 = 15.02

Southwood)
QIN, OP, 9.05%, 3.500 gm .58096-6022-03 = 6.94
§0L, 0.1%, Sm ...... S8016-6024-05 15.56

| {une it) {VIAL}
"4 mg/ral, § ml,....... O0677-0385-20 = 3.50

OL, OF, 0.1%, 5 mi ...... Oos77-0890-20 © 4.70
FOEXAPHEN (Quaiity Cara)

, dexbromphen/pseudoeph sulf

, PO, 6 mg-t20 mg,
60346-0711-10 3.98
.- 80348-0711-20 8.08

if A DEXAPHEN SA (Major)

axbromphen/pseudoeph sult
A, PO, 6 mg-120 mg,
pense eee eee OOST4-0667-60 14.99
se eeaeeeeaee 00904-0667-40 65,95

EXASOL (Ocusott)
jaramethasodé sodium phasphate
b, OF 0.1%, Sm ....,. S4709-0825-05 5.31

DEXASONE (Legere)

5.95
14.95 -
EXASONE LA, {Legera} cota
dixamethasone acetate to.
kW {VIAL} :
mgmt, S mt...:3..:28999-00t1- 0s 21.95 °
EXASPORIN (URL) .. a ,
sxameihines. sultfpalymyx | ts
“Ta

OF 1 mig-3.5 mg10;000' Wink,

; EXBROMPHEN/PSEUDOEPH SULF
agoreckenridge) See PHARMAD NE

publi ertewroarrecontasa SULF.
aiSchetlag) Sée: POLARAMIN, EXPECTORA
ex HLORPHENIRAMINE MALEATE: (Ami
PO, 4'mg, 100s aa”; $2182-0014-02
& mg, 100s ¢2.......,52152-0018-02
{Bieckenridyey Se
RB, PO, 4 mg, 100s ea... S199T-0470-01 29.59
"5 mg, 100s aa. .
(Morton Grova)s., ..: .«
PQ (ORANGE)
2 te ml, ta mt,

840 ml

3.95

Meee sennaeee 88010-8041-05" * a0

SUORTMTEG 4095

Lieled Ue tat -id

AP
aT

aT

EE

OTs at

{Savage} Sea'tLOPAN ss: Tbe

Serena ule
(URL)

(Zanitiy Gatdilng)

TER, FO, 6 mg, 100s ea ...00182-1075-
DEXEORINE (SX Beecham Pharm}
dextroamphetamine sultate

TAB, PO..5 ng,

1005 ¢a, C-ll.,..... 00007-3519-

tex Total Care)

TAB. PO, 5 mg,

50s ea, Cl ....,...54668-3403-

TER, PO. 6 mo, 1005 ea... Q0677-0669-

ae ao

01 397,30

01 63.90

2000 (24.55 MA

00 15.56 AA

100s aa, C-l....... S4068-3403-01 28,78 AA
DEXEDRINE SPANSULES (3K Beacham Pharm}

dextroamphataming sultate
CEA, FO, § mg,

50s ea, C-f1... 2... GO007-35%2-15 26.65
10mg,
50s 0a,.G-I........ O9007-3513-15 33.20

Phys Total Cara)

mg,
508 9a, Cll... 2.2, QO0G7-3514-15 42.45

CER, PO, § mg, '
50s aa, C-Il........84868-9402-00 31.04
100s ea, C-I! $4868-3402-01 | -59.74

Omg, : .
808 a, Cll... .54868-3811-00 © 32.10

DEXFEARUM (Amar Regent}
Iron daxtran
INd, 1d (8.0.4)

50 2 Timi 10s...00517-0134-10 14853 | 6P
A eeteeeenes 00517-0234-18 377.05 _ BP

DEXONE Lat (Keana)
dexamethesona acatate,,

I), Md (VIAL). Ser .
& mg/ml, § mi... 00598-0964-75 12.80 SP
DEXPANTHENOL {Amer Regent)
IN, 1d (S.0.¥}
- 250 mgm. -
_ 2mbts... _00517-134-28 101.58
(Consolidated Midlaad)
TA, A (VIAL);

3 250 ng/mi,. 10m, “ay auadasasen
ini, N {VIAL}.

“ig 250 mgéml 10 mis -100229-74146-10 "ado

(Moautt):.
IN, A (MOMS:
250 mgm, 30 mi.

(Marit) See'a-Pan **

AST

ase. 10.

DEXRAZOXANE j
(Pharma) 86d ECARD,

DEXTRAN. (Abbott Hos:
INE, Pere TEARTOP Hid"

SEXTRAN. 1
(Madisan Pharma) See PROMIT 3

ERNIE sos

{Nd W (6: CAS CON ANER)
otees 500 mit onze

; 4aur2- miata i 709 ot

19 5.00)

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Pega bee hoary rl ®

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Case 1:01-cv-12257-PBS Document 459-2 Filed 08/05/03 Page 12 of 25

283/DEXTR

hits PS ae met: [64

Electronic

and Clinical

DEXTRAN 40/SO0 CL

(8. Braan/McGaw}

"DEXTRAN (75/300 cL
INS SE BMAD

(Baxter) See GENTRAN 40 W/DEXTROSE
(Madisan Pharm) Sea ANEOMACACDEX

Abbott Hosp) See LO W0.9% SODIUM CHLORIDE

Ald, HJ, 10% -0.9%, $00 mi O0284-1989-10 142.38
(Baxter) See GENTRAW 40 W/SODILIM CHLORIDE
(Madisan Pharm) See RHEOMACRODEX

DEXTHAN 70/DEXTROSE cated Hoep)
IN, 14, 84-55%, 500 mE1Z800074-1507-03 1240.51 1044.72

(Medisan Pharm) Sea HYSKON

DEXTRAN 70/S0D €L..(B. Braso/McGaw) -
INS, Mi (GLASS CONTAINER)
27 G%-0.9% 2500 mt, 7 00284-1980-10 fan -

(Baxter) See GENTRAN. 70. WISODIUM CHLORIDE
(Medisan Pharm) Sea MAGRODEX::” rout?

a Be

bot. H

25 mg,’ 100s ea
of 008.02 :225
-, 60mg, 100s ea .
© 1000s aa 3:
61392°0728-32 “~
61302-0726-45 :
61382-0726-60 . 5.AB
{Morton Grove) : a
, our, PO (PEPPERMINT) 222: Seg ao, oS
_ { 27410 mg/ml, 120 mb... 60432-065t-04 * 6125 M
"AB (yen Vas de tee ‘ yo
“(BUSTER PACK) *” . * "1 GAB PO, 10 mg, 100s ea e0s78: 040-012 49,95 .
i 25 mp, 30s ea... aber se ThE?! 0 AB 1000s ea ....° )OOS78-1045-10 139,95
(Sts oaUD.......,.61392-0727-31 1206... -Ag 25 mp, 300s wa . 00378-3125-01 - 14.25: *
Fe ee ke A ne cee 143.95 7
’ 45s ea UD -O1302-0727-45° "17.51 ° "4g 50 mg,-1001 oa 00378-4250-01 "39.95 :
_ 60s ax UD “1302. 0727-80 29.340 Soe AB: a,” “anaya.
O0s ea UD ......,..89982-0727-00... .35.02 AB ee
500s 48 UD .......,61382-0727-51 Fina sae TF ag . OOB7S-B37S-02 241.9) AB
,, 2000s ea LO... 8 B B *9"10008 ea. :. et ODATERSTE-10 365.95 25 207.0.
1000s ea UD... 7B) | te 100 may 100s. ea*2!00978-8410-01 _ ABS AB
“50 ‘aga at » 10005 ¢a ,,. yea “420.95 °F" AB!
(BLISTER PACK) -7*" =" = : Ch Peet: 4 ory
mg, 303 eas. .81902-0728:90 30! (PO-RX Pharm iced WPuC +
oe ‘a to opignz7ea-at aE “ CAP, PO, 50 mg, 20s ea ... B5269-0019-3 3755 “ean 8
32s a2 UD 61992-0728-92 “-13.a9 75 mp, 30s fa $5280-0258-80, + 5.62, "34g
| 7 a5 ta ua 7 *BTREOTREAS ae: a 4B) (pax SpE Fay ° oF
7 9608 aa UD... 613 +50. AB
BOs ea UC .........81382-0720-00 "3905 ag | CAP 70, 10g mp, 1008 “Ramee a
500s ea UD. 81902-0728-51 277.00 AB BBR eeeceae "
20005 4a UD.......B1802-0728-54 868.00 a 25 mg, 100 08 ......40884-0218-01 35.00 aa
100008 en UD... +: 61302-0728-07 4340.00 --" Ag veg pl OOO OM 1-5 SOBBEOZTE1D 144.06 eel
‘75 mg, 305 8a UD .,.: 61 ae2-0720- SO 2088". AB 60 mg,'1008 as “40384-0219-01 21,50" ag
{BLISTER PACK). “sci avgier en 1000s ea ., Asee4-O210-10 “206.49 © ag
_ 75 mp, 305 oa... *.2°81302-0729-98 ° 20:88” AB 75 mg. 1008 ea 4 43.50'°* gp
31s ea UD  O102-0720-31 - ‘2t.§a ag 10005 aa. cas
“Fs” 92s aa UD HGUMOR D202 2227-7. AB "100 mg, 1008 a wD
- 45s ex UD CBt3920720-45 31. v At {0005 ea .. AB

60s ca. UD A . :

90s 0a UO ........:81992-0729-80 62°64 AB to md. S08 a. “ba 4

500s ag UD........81392-G720-51 348.00 apf = 1005 ba... “g0nee-azze-05

2000s ea UD....... 61392-0729-64 1392.00 AB 5008 Hie... sseners

10000s aa UD...... esee-trze-61 640.00 AB | (Pfizer U.S.P.G. } See SINEQUAN

+ BTH926 31

BLISTER Aa 5 ‘ 3 aa (Phys Total Cara}

400 mg, 30s ea .....,61992-0730-39 23.31 AB | GAP, PO, 10 mp, 305 aa. , $6988-2317-03 2.78 EE
JiseaUd......... 81992-07901 24.09 AB 605 8.0 54868-2317-02 4.16 EE
S2s0aUD.........81902-073032  24)86 AQ 100s aa -54880-2317-04 6.05 EE
45seaU0.... 61392-0730-45 9 34.57 ab 25 mg, 15S aa «B4868-0082-04 892.36 fE
80s aa io vine “Siinen 46. af AB 05 8...........,, 54B88-0082-02 3.97 EE
$0sea iD ......... AB
500s ea UD... sisezo7ses1 seesy | Olle oe eee gt fr
10G00s 62 UD......61392-07390-61 7770.00 Ag 75 mp, 100s 0a S4868-2552-00 12.86 EE

(Lotus Blochemicsl) See ADAPIV 100 mg, 30s ea ...... BASHB-2784-08 = 5.47 EE
(Major} , 1005 pa. vo BAOBR-22B4-02 14,99 EE
GAP, PC, 10 my, 1008 ea ..00904-1260-80 10.50 Ag 1256 aa S4060-2284-04 18.33 t
(10x10) (Qualitast}
10 mg, 100s ea U0... 00904-1260-81 25.86 Ag
. CAP, PO, 10 mg, 100s ea ..00803-2455-27 9.05 AB
2s ma. 100s fo... 00904-1251-69 12.95 AB 000s 9 DO803-945532 agc3 as

25 mg, 100s eg UD... 00804-1261-61 38.26 AB 25 mg, 100s ea ......00803-3455-21 11.50 AB
1000s aa..........00004-126¢-80 89/59 AB 1000s aa... -» 00803-2458-32 110.91 AB

§0 mg, 100sea...... 00904-1262-50 14.25 AB 50 mg, 100s a2 ......00609-3457-21  16.8t Aa

(10X10) 1000s ea .,.,......00803-3457-32 100,67 AB

SO mp. 100s ea UD...00904-1262-61 48.76 Ag 78 mg, 100s ea ......Q0803-3458-21 41,50 AB
10008 8a «5-1. O9904-1262-€0 138,50 AB 10008 #84... 00609-3459-32 264.35 ag

4 oo aa... 06D4-4263-60 29.09 Au 100 mig, 100s 6a ..... 00603-3450-21 29.98 A

75 mg, 100s ea UO...00904-1269-61 73.31 AB 1SC mp. 1008 aa ...,.00803-3460-21 48.10 AB

106 mp, 100s ea .....009041264-50 39.50 AB} (Quatity Care)

{10X10} CAP, PO, 10 mo, 30s ea... B0346-0793-30 9.71 EE

108 mg, 100s ea UD, .00804-1264-61 82.37 ag 25 mg, 10s aa........ BO346-0553-70 8.47 EE

(Martac) 123 aa -+- BOME-0559-12 5.26 EE
GAP. PO, 10 mo, 100s aa ..52555-0294-01 13.90 AB 30s ea. +++ 80966-0553-99 13.12 EE

25 mg, 100s¢a...,.. 52555-0295-01 14.20 Aa 90s oa... . 60346-0553-80 39.33 fE

50 mp, 100s 4a...... S2555-0296-01 19.90 AB 50 mg, 30s aa 60346-0269-30 18,45 EE

75 mg, 100s ¢a...... S2555-0381-01 41.20 Ag /

160 mg, 100s ea... :. S2555-0392-01 42.30 ab | (Raway}

150 mg, t00s ea... 52555-0922-01 59.85 AB | CAP, PO, 10 mo, 100s aa, ‘Mee pee toe eB

25 mg, 100s oa ....., 6a AB
(Mediela) See ZONALOW 50 mg, 1008 #3 ...... 00686-0438-20 19.50 AB
(andlsca) 100 mp, 100s aa... OO686-0651-20 21.00 AB
5 OSA 38770-0218-03 13.50 CNT, PO, 10 mg/ml, 120 mi00668-0812-t4 13.00 FE

~ ABTFO-O218-04 48.38 (Rugby)
38779-0218-05 137,25 CAT, PO, 10 mg/ml, 120 mi O0636-0685-97 16,35 AA

a(t BE sO O) OD) i=l 5)- tye SIS AOS

Ue perso tomes 2808 Ode

LCtmGerTeUicm Kos ent tTeh eam emia (14) 0) Wr erat 8 oy)

' te 78 mg. 41006

vitamin ba
Nd, Hi 100 porn,

SOM... eas 50727-0307-60 12,75
poxoRusican HYDROCHLORIDE (APP)
ING. I (S.0.V,RF)

2 mo/ml, 5 mt 63323-0888-05 45,50

10 Mh. +. 63323-0883-10 = 91.00

2 mh ee €3323-0882-30 231.00

(VIAL)

2 mom, 100 mi... 63323-010-61 998.00
(Astra Pharm [.P.}
IN, I (VIAL, PE}

2 mpm, § mi 10s...,00986-1592-34 125.00

Omi $s,....000.., 00186-1632-41 125.00

{S.D.¥,, PE)

2 mgmt, 25 mb... 00185-1832-61 259.35

(M.DV., BF)

2 mofmd, WO ml... 00786-532-81 1017.96
POL, (J (VIAL)

70 mg, 105 aa. -00186-1530-13 187.38

50mg, aa... --00186-1531-01 83,69

"T000s\aa

"100 mo.t00s eas.

{Sky Pharm).*2 78S
* CAP “Fo (BLISTER PACKS
25 mg, 7505 ea UD... 83730-0693:

~{BLISTER PACK 2531)" sates
25 mg, 778s aa;
(BLISTER PACK) | 4
50 mo, 760s a UD aw8379
(BLISTER PACK, 25X34) cay
50 mg,.775e ea UD

(Southwood) os

CAP, PO, 10 mg,"T5s ex - -“Sacte bags

20s 2a .

80s ea... 58018-0364-00

GAP PO(10X10)
10 mg. 100s aa UD 7; “sore beake
-(ROBOT- READY. 25K) reget
25 mg, 25s as..
(10X10) =. i 4
“25 mp, 1008 ta Uo..! 51070-Das?- 28.
” (ROBOT-AEADY x1 ps areca
_ 50 mp, 255 aa. ,
(GNI) «
50 mg, 100s ea UD
75 mg, 1009 ea UD
100 mg, 10Ce es UD, .61079-0051-20
CNT, PO, 10 mgvmi, 120 mist079- -O6G8-37

\ Ws
76.64 “BIAS

(UAL)
CAP, PO, 25 mg, 100s ea, 00877. 1902-21 13.22
50 mg, 1008 ba 2... O9877*7103-01 19.22,
700 ing, 1008 aa... SO677-1105-07 41,59
(Warner Chileott Gan)
CNT, PO {W/DROPPER}
10 mg/mi, 120 mi... 00047-2623-35 16.35
(Watson)
CAP, 70. 0 et 100s ea... 52544-0695-01 12.90
Os at eel, §2544-0895-10 115.20
os, mm. 100s oa ......52544-0695-0t 13.25
10008 ea... 52544-0696-40 120.05
50 mg, 100s ea +-52544-0607-01 9 19.02
10005 ea .......... 52044-0807-10 176.00

DOXIL (SEQUUS)
doxortbicin hydrachloride Ipozome
Id, IJ (5.D.¥, STEALTH LIPOSOME)

2 mipemi, 10 mt... 61477-0295-12 656.25

DOXINE (Marit)

XO lOhY ma OG

RX PRODUCT LISTINGS

Fa a aL FY Te
(Bedford)
tNd, (8.0.4)
2 mg/ml, § mi 10s....55990-0235-19 473.50 ap
mi 10s.......... 59390-0236-10 947.001 AP
ZB ML ee 58390-0237-01 236.74 Ap

(M.0.M)

2 mp/mi, 100 mi .....55390-0298-01 945,96 ap
pot, Wd (S.0.V.)

10mg, 108 ea... 55390-0231-10 480.70 ap

20 mg, 10s ¢a. . S8990-0292-10 901.60 AP

$0 MQ, 82--.-5--4-4-+ 55390-0253-01 225.40 AP
{arisiol-Myer Oncflmm) See RUBEX ;

(Gansia)
Ind, Wd (S.0.¥, POLYMER)
2mq/ml, Sml......-, 00703-5049-03 175,00 AP
25 Mil... .eseeveees 00703-6046-01 87.50 ap

(W.0.¥. POLYMER}

2 mg/m, 100 me ..... 00703-6040-01 350.00 AP
(Pharmacia/Upjohn) See ADRIAMYCIN PFS
(Pharmacla/Upjoha) See ADRIAMYCIN RDF
DOXORUBICIN HYDROCHLORIDE LIPOSOME
(SEQUUS) See DOXIL
BOXY 100 {APP}

doxycyetine hyclate

MY POI, ld (VIAL,PE} ‘
100 mg, #& ........., 63329-0130-03 1.89 AP

DOXYCYCLINE CALCIUM
(Pfizer U.5.P.G.) Sea VIBRAMYCIN CALCHIM

DOXYCYCLINE HYCLATE
aa

; CAP, PO, 100 mg, 50s ea.. 4.25

‘TAB, PO, 100 mg, 50s ea... 4.48
(APP) Soe DOXY 700 |
scripts) .

ICAP. PO, $0 mp, 145 ea ...S4560-0147-00 4.87 EE

eed 6.63 EE

7.18 . Af

16.58 - ‘ EE

2.10 * €E

2.96 EE

«3p 5450S 140202 7524.78. 2 a2? EE
S4500-1840-08 6.200 ys BE
UBEESHAME TE a: 10.60" fe fE,

» E

Bp eI ae
* $4800-3821-00.,, 16.70. nay EE
00 mg. 25 0a ... SASER-3074" ag 0.99 | aaa"
“gaaee-apve-aa B71"
- $4560-0118-02.,. 7,82. 20. .
sasee-2074-01°° 6.94
"§4560-0118-00 11.18

" S4560-2074402 ~
,SAS6S-O114-04

. 37.38 31/47 EE
sean S9772-0940-01, 31.34. 26.39 -AB
: ', SO772-0940-02 282.95 238.27 AB
SOs ea.,50772-0803-01 27,73 23.35 AB

MBO7TE- 4803-02 . 255.08 214.80 AB

ty . BAR SUAT Sue AS a4
‘as sane S8175-407208 3.15
Sota SV TEAOT2AOY py 3.95
55178-4072 82

85175-4072-07
-55175-0320-03
S5175-1829-05
17s 0320-82.
Eesz0-01
SSS UIeBae Lana 3800287 EB

SSTI5-0920-04- 5.50.3 xzo!- EE
sere ae 5.69 :.11e w ie

BRARRRARE

eras lets et ee ase)

(Callagenex) See PERIOSTAT

(Compumed) -
CAP, PO, 100 mg, 10s aa..00403-2274-40 892.20 AR
00409-2274-11 2.30 AB
,  O0403-2274-12 2.35 AG
.- 00408-2274-14 275 ag
..  00409-2274-18 3.30 AB
-- 40403-2274-20 375 AB

- 0403-2274-21 4.50 Aa

» O0409-2274-28 8.25 AB
, 00403-2274-30 | 5.60 AS
00403-2274-03 «12.75 AS

. 00405-2268-08 8 8=—-2.40 EE
00403-2268-19 265 EE

-- 00409-2208-14 295 EE
- 00403-2268-20 4.20 £E
-00403-2268-21 445 cE
.00403-2268-28 9 4.95 EE
00403-2268-0% «12.25 EE

(Consotidated Midiand) .

CAP, PO, 50 mg, 50s aa UD09223-0671-06 10.00 £E
1008 @a.......u..e. 00228-0871-01 19.50 EE

TAB, PO, 100 mg, 50s aa. .00223-0872-05 1250 EE
5008 g2............ 00223-0872-60 107.50 £E

(Dizon-Shana)

CAP, PO, 100 mB 145 ea, .17238-0527-14 3.98 AB
285 82... vee 17738-0527-26 3.50 AB
50s ea... OE 6527-65 = 19.10 Ag
S008 ag..........,.17290-0827-08 148.95 AB

(Edwards) See ED DOXY'CAPS

(GSMS)

TAB, PO (UNIT OF USE}
100 mg, 148 6a...... 00420-0089-14 7.76
208 @@ 60429-0066-20 «911.08
(Halsay Drug) | .
CAP, PQ, 50 mg, 50s ea...0G879-0825-50 1260
100 ng, 50s 6a ......0087%-0628-60: 24.05
5008 44.........005 00879-0826-05 216.50
TAB, PO, t00 mg, 503 ea ..00879-0778-60 24.05 -
$008 b8.........6- noare-0725-05 216.50
(Heartland) oe

CAP; PO, 50 me, 303 ea persia 0731-90 23.78.
PACK} ~ ‘

(SLISTER
50 mg, 308 ez. 1392-0731-30 | 23.78

UD......8139207E1-8T
100 mg, 203 en UD . . ;813992:0792-30* Ta ue
(BLISTER PACK) iw ides
100 mg, 30s ea . .61302-0792-38 ‘57.89
Hs ea UD .. 61392-0732-31 $9.62

32s aa UD 61392-0732-32 5154
- 458 aa UD

80s aa et

(S08 a8.

(Mediscay. | ss
POW, (U.S) "*F

O0004-9434-40 G75 0 AB

(Meora.H.2.) ieee 6 ML
GAP, PO, 50 mg, 50s oa ...00830-1288-04 13.23 9.80 AB
= 100 mg, 508 ea 00839-1280-04 25.25: 18.70 AB
he, 500g DOE30-1280-12 227.33 168.99 AB
/ TAB, PO, 100 mg, $09 ea... 00829-664T-04.  25.25-.18.70 AB
5008 44 et aeeeeneeee 00839-8844-12 wz 168.39 ag
(Motualy. fe-ia Peis,

EP 0g 50. 183469-0118-02 -3128:: ‘
500 TSMGG-0118-08 35.250 = |

yan an
andro 148-80" “37.25 a
“aos7a-a148-e¢ Sar 5ane a
.QO3T8-O148-05 234.65" *

00278-0787-40 22.95." as

“fdyiany” 25
GAP; PO}, 50 mg, ns ae

Case 1:01-cv-12257-PBS Document 459-2 Filed 08/05/03 Page 14 of 25

305/DOXYC

Last ra ay ES ee Lt

RED BOOK"

yee Melee

fo) ae 2 12)
siete) Brg er

{PO-AX Pharm)

| CAP, PO, 50 mg, 168 aa ... 55289-0802-18 4.44 AG
GOS e2............. §5289-0235-60 99.54 AB
100 mg, 2sea........55289-40107-02 2.63 AG
2s 0a..... - $5289-0860-02 2.63 AB
Gs ea S207 6 441 Aa
105 #2 « 55289-0107-10 5.18 Ag
125 8a - 55209-0107-12 5.20 AB
145 82 - S5289-0107-14 6.25 AS
14s aa -SS289-0868-14 5.79 AB
ids oa 50066-0990-14 2.35 AB
203 8a  55250-0107-20 6.65 Aa

--- ABZ89-41866-2900 717 aa
 56864-0100-200 2.76 AB

20s ea
28s ea . SSZOOT28 7.14 AB
30s ea ane SO864-0190-30 03.43 AB
50s ea .-+ S5266-0107-30 9.00 AB
40s aa aes S52BG-0107-40 08.57 AB
S6s ea ...55289-0197-56 = 10.20 AB
O06 aa ae S5280-0107-60 = 10,74 AB
w+ S5289-0807-17 19.97 Ag
1008 @a..-..-.....- $5289-0107-01 = 12.71 AE
TAB, PO, 100 mg, 143 04..58684-0180-14 2.43 AG
208 G8... eee ee 58384-0189-29 892,96 AB
BOS O38. eaten eae Sasea-0189-30 1.57 AB
(Parmad) .e
CAP, PO, 50 mg, SOs ea ...00345-1007-50 26.95 AB
100 mg, 50s aa .0U349-1008-50 29.65 AB
SOs ea -00349-1008-05 210.50 aa

{Pfizer U.8.P.G.} See. VIBRA-TABS
(Pilzey U.$.F.G.} See VIBRAMYCIN HYCLATE

(Pharm Corp/America} ~
CAP, PO, 100 mg, 105 aa. “ATeae Cet 3.65 EE
148. 4a.. S4AS8-0186-84 4.45 fe

. Wess-Ties-62 5.40 EE
(Pbarms Pac}--..... ”

-CAP, PO, 100 mg, 10eea..S2059-0088-10,_.11.48... . EE
*, ~02059-0058-18"-" 15.56" 7,
~ ARES-0088- 1854 516.85 "i cE
gs. S2050-0088-20 19.40. - cE

"S2950-005E-28 “26: 89... EE
iv, SEO5O-GUSE-00, O6.77. . EE

TAR, FO, mode mg, 3os'ta. 52989-0474-20 | 18.65 fE
(Phys Tota! Care} mee ,

CAP, PQ, 50 mg, 20a aa. - 54568-3169-01 3.47 cE

. : EE
EE

EE -
EE

FE |
aaheeee . ost eee EE,
. ee eae ae et ‘ 56": cE
 ginga-00z3-00"” 430°
saase-oeza.o8" 79. EE:
100s 02. e-G023-00 © «8.78 BE
500s #a,, 64888-0023-09 37.04" | EE

TAB, PO, 100 mg, ris SMNBEO1I-02 2,73 * €E

143 68... . cesses 1. EE
20s aa.. EE
608 @a........5... bE
(Cuaiitesi) --
CAP, PG, 50 mo, 503 Aa
=4. 100 mg, 50s ta . AB
TS 500s aay. Aa

TAB, PO, 100 mo, Sox da a0dos-san-9 145 * AB
S008 OB. o eee eee 0603-3492-28 Mado: A

AGuatity Care): « ShMREAEAE
CAR, FO; 100.mg, ole i ebdis-iies-10-
we A beseRor

~OOS78-0107-06-~208:55-——— AB-~|

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RX PRODUCT LISTINGS 333/FLUPH

ra Tetras tla LE ae PL bo peel eea | 38) 64 vu ee PL ts Lo ta iil ites FV an trot) 109
Pharma Pac) (Phys Total Care) [
vs. OF, 0.1%. 5 mb... 52959-1433-05 16,25 EE | IN, WJ, 25 mg/ml, 5 ml....54058-2370-01 89,37 FE RED 2 BOOK ™
FLUOROMETHOLONE ACETATE (Radford Tharapeutics) :
(alcan Ophthalmic) See FLAREX a IMJ, 1 (M.O.¥) for". Kadauis®
(Cita Ophth} See EFLONE 25 mg/m, 5 mi... 63252-1126-05 90.00 Ao
FLUGROPLEX (Allergan inc) Aaa vray Jello rel eli ec a
furouraclt 2¢mgiml, § mi.......00%44-0644-66 80.25 EE ice) ie Rohe]: )
CRE, TP, 1%, 30 gm....... QG023-0692-30 51.56
SOL, TP, 1%, 30 ml... 00023-0810-30 $1.16 FLUPHENAZINE ENANTHATE feiele) Br g-a-eecie | <F-4
piscrigt) (Apothecan) Sea PROLIXIN ENANTHATE smo. 3
f 4 FLUPHENAZINE HYDROCHLORIDE euisiEa PACK) von Stas2-G0S9-98 45.19 as
SOL, TP 1%, 30 mi....... 54569-1865-00 43.66 ca bmg. 10 tags 5 mg, 30s ea........, $1292-0050-39 45.19 AB
FLUOROURACIL (APP) ‘25mg. ts ea "aI Sis ea UD ......,.,61992-0058-31 46,70 AB
WN, W (5.0.4) 5 mg. 100s ea 351 425 a UD .........61392-0059-32 48.20 Ag
50 mofmi, 10 ml .....88929-0117-10 2.89 ap 10 mg, 100s ea 224 493 ca UD... 61992-005045 67.79 ag
QO Maree ccecceee 63323-0117-20 5.74 AP 60s sa UO .. ---84992-0050-60 90.38 Aa
(PHARMACY BULK PACK) ar (M.D¥,) oon ee UD .........81992-0059-98 195.57 ag
- s0mg/ml, $0 mi ..... $3322-0917-51 14.35 AP ' Tt 5 BaD... ete 0GeeST 759.99 Ag
OM cl eagestTet 28.70 ay - . Weal... 63929028810 42.57 AP 2000s 24 UD .......81392-0055-54 9012.76 AB
reripts 100005 9 UD...... 61992-0089-9715063.80 Aa
, {Allergan Inc} See FLUOROPLEX TAR, PO, 5 mg, 30s 92 ....54509-3191-00 26.03 fe 10mg, 20s ea UD ....61392-0060-30 56.4 Aa
(CH) See EFUDEX (American Heeith) (BLISTER PACK)
| (tcN} TAB, PO, 1 mp, 1005 ea UD 62S84-¢800-01 62.94 AB 10 mg, $08 ea. 58.84 AB
Nd, Ie (VIAL) 2.5 mg, 100s ea UD ..52584-0899-01 88.37 Ag 413 4a UD .. 60.80 AB
60 mgt, Sag, 100s ea UD ....62584-0703-01 133.05 aa 32s ea UO .. 62.77 AB
10 mH 10s.......... 00b41077-01 15.81 AP 10 mg, 100s ea 1... 62584-0704-01 169.26 AB 45s aa UD .. 88.26 aa
{Medisca) (Apothacon) Sea PAOLIXIN 60s ea UD .. 47.69 ag
POW, (USP, 5-FU) (Copley) 90s 4a JD... o 176.53 AB
WOM. eeeecees 38779-0025-01 31.50 CNT, PC, § mg/ml, 120 mt 38245-0690-14 142.80 AA soe a eT SeeezAOeE-SY 980.72 AB
{Pharmaclapjohn) See ADAUCIL EL, PO, 2.5 mg/5 mi, ; seaud..,..., §1392-0060-54 3922.66 Aa
BOM... 38245-0688-12 15.90 AR 0000s ea UD.....,61302-0680-9119614.30 AB
WSO 479 Ml eee 38245-0686-07 142.75 AA | (Major)
Ind (S04 (Dlxon-Shane) TAB, PO, 1 mg, 100s ea ...00904-2873-60 47.05 AB
10 mi 10s. ceoteee se S@TOO0012-10. 37.50 ap TAG, PO, 1 mg, 100s a ...17236-0489-01 45.90 * AB + Smig, 100s ea....:-,.00904-3678-80 44,25 Aa
aut vial : 100s ea UD... 1729-08-17 62.40 as 19 mg, 100s ea ..... -90904-9678-60 111.40 a
50 mg/nl, 500s ea. , AB S008 ea... 00504-3076-40 339.45 Aa
WO md 10s .. 2... 39760-0892-90 250.00 A | (aeore,H.L.)
ag | TAB, PO. 1 mg, 100s ea... 00890-4440-08 48.18 25.69 AB
8 2.5 mg, 1008 6,...,.00830-8441-08 68.24 S055 AB
A S mg, 1008¢a........ 00839-6442-06 ' 87.95 65.15 AB
i 4B 10mg, 1003 ¢8 ...... O063-7452-06/' 114.48" 24.80 AB
; AB] (Mylan): Pe TB
thos aa TAB, PO, itm, 1008 ea ...00378-8004-01 ° 51.95 ~ AB
FLUOTHANE (Wyatt-aysrat) = eve es i _ 1 8008 a8... eee 00378-4004-057 245.455" 0 AR
thane eRe (@SM8) - 2 ey -00978-6009-04 , TBS,» ach AB
Tas, PO (UNIT OF USE) etc, at ene ~00378-6006-08 357,75 “~;.
10.mg, 90s oa, ... 77 "60629-4078-00 100.88 Au  ROSTE-HOTA-01 .,.91,95,.,
: . " ITS-O074-05 | 423.95
VOXETINE HYDROGHLORIDEX: : (Geneva) ites ’ :
7 OCH a TA, a07et- 9610 «AD ves vy MOTTE-G007-01 “117.95
Dk a} SewPROZAC™ vee tt a ene. 908 ts seein eae os BOOS #a......2. + ME rte 546.9552" AB
proce 100s ea UD .......,00781-1436-13 62.99 °°" AN | (Par) , se :
300s ea...... . 00781-1438-05 9 233.79 Aa TAB, PG, t mg. 1003 4a, ..49884-0081-09 52.23
2.5 mg, S0sea......,00781-1437-80 40.57 AB 00s ea.
fa... .U07E1-1437-01 75. val
_ . 1008 a4, UD 00781-1437-13__ Ae
+ S000 0781-1437-05 Al .
» Sg, $0s: 00781; 1438-60 as
+ 1008 ag. 700TH 1438-01 | - A
100s aa | - OUFE1-1438-13- Aa
oe 5008 oa...........,00781-1430-08 ag ! -
‘ 10-mg, $0s-ea,.......00781-1439-60 _w Gamat "is ° isles ante “a4 ~
fl ast 1 TH aide gp 100s oa UO . CO78-1430-13 * , mg,.1008 aa’, 983: ee
me me : —* 10s ea”  govat-1430-01 Aa 2.5 mg; 100s ea.. vasa a00T-0 60.95
: as S00s sa:  BOTHN-T430-08 AB | 4 Ging, 1008 ea. i
(Heartland). * 10 mg, 1008 eg, -UOSABASTO- 1 105
wrens “OUNE-OO 122.65 | BP TAB, PO, 1 mg, 30s ea UD 61302. 0057-30 | 24.71 _ AB } (Pharm Assoc) ay
. (BLISTER PACK.g. 5 anny CNT, PO (0. SF, W/DROPPER)*
dmg, 30s ea. "01392-0057-30 24.71 AB | 5 mgémi, 120 ml... 901244 0663-04 106.94" AA
BP -81992-0087-31 25.53 As EU UL BO (RASPBERRY) :
~61392-0087-32 = 26.35 aa 228 ma/S mi, 80 m peizi-eese-02 16.10 MA
me ees £37.06 +r. ae "473 o., *OO1zT-0654-16 “2870S ° AA
cases “nerreeegi usta BRL : 392-0057-90.. 7417 - ag | (Phys Totat Care) Ce aa
BENAZINE DECANOATE: (APP cram [a3 902-0057-81 417-75 -. AB " PO,.1 mg, 30s ea .., ABNE-Z1SE-00 110518 EE
ey me # PUD. SE O1SC2G087-84 1847.00 <0 AB Bhevasnes :
g 15905 0272-8 74.18 AG | $2 10000s ea UOJ: F2 61962-0087-41 8235.00 «2 AB ‘28 mg, 30s ea.
incon) see PROLIXIN DECANOATE = wwusicis, | 23 mg.30s ea UD....81S82-0008-90° 24.93 cu, AR | Sig, SO ea, "
eA lo aa : ve (Qualttest) BM. eg Mates e :
aE TAB, PO,.1 mg:.100s aa j-< D0603-9888-21-; 10 naig AB
Fi 2.5 mg. (00s ga scr 1 0003-9K87-21 760.80 A
61302-0058.32 AB
“BUSS pseagongas *'aeg9 AB , 00803-2668-21 mn _ Al
i. “gs “OO603-9680-28" 373.95 7 'AB,
” ae agg tO409-9809-21 "102:36 "7° AB’
2 ae 7 noges-sang-28 45.90 AB
An | (Quality Cares", PO CHE desk ot ita 7
~ AB— TAB; PO; S mg; 30 ¢a—-= 60246-0960-30—25.19 EE—

“GENESA {Génsia Aulomedica)

homecpathle product
INJ, bt (AMP}

1%, 1mi 125... SUNSET a0 i
*GENCYDO'#3 (Weiedaj “FEO. +:

homeopathts product
INJ, Lt (AMP): =
3%, 1 mi f2s.
GENGYDO #5 5; (Wateda)
harmeopathic product’ Balad

INJ, 1 (AMP)
75%, 1. mb Yaa Aigorss-ozrs-60 -

GENCYDSO- #75(Waleda) te

homapathle'psaduct

INL, {AMP} ST Sete ents
"Pm 128...) 00N8-0277-90'

GENCYDO | EVEDROPS: (Weleda) mE

homeopathic product

06155-0273-90

-{ -SOL,ORA1 250.01 1...) S5046-0272-08,,

GENERLAC. {Morton Grove)

lactulose -* - -

SOL, PO, 19 gnvi5 ml
430 mi

1920

c
woth

$0432-0036-16
BOdS2-838-b4 :

arbutamlos bydrochforide
INQ, WW(SRN,PREFILLED) 30%: datz 5g 3.

5 BOS mgéml,20 m.. NOOTES-A106-01 182.00 160.00

GENLYTE-20 CONCENTRATE: ‘Gensiay”
slocl/min, miultl =. i. wigs
INJ, Wd (5.0.4) ° *
- 2m 2hs. Shp ea meses -o709-540. 4 +
GENLYTE- 40 CONCENTRATED (Gansta)
elactimia, mult
IMJ, JJ (S.0.¥.) 7%
25 mi 258.....-..-.08 .. 00703-5420-04 1

GENOPTIC [Allergan Inc}
gentamicin sulfate .
SOL, OP, 3 mg/ml, tm) ...11880-0117-07

BM. cesses eens 11980-0117-05
GENOPTIC 5.0.P. {Allergan Ine}
pentamicin sultate

OiN, OP. 3 mgigm,
3.400 9m es, 0G023-0320-04

GENORA 0.5/35 (Rugby)
ethinyl setradioi/noreathin
TAB, PO (aX28)

35 meg-0.5 mg,

MS Me 0U536-4057-48

GENORA 1/35 (Rugby)
aihinyl estradiol/norethin
TAB, PO-(3k21)

35 meg-1 mg,

(8X28)

. 945

oe B45 2°

ag ANS Be

we wr

5702, Sd :

wofee watiy

25.85 ~

G87 73 <

02.19.
09.38
2.96

13,43

13.51

57,60

52.56

1685 aa..........44 O0636-4055-48 105.00

(Compumed)

TAB, PO, 35 meg-1 mg,
215 fa. ec eiaee 00403-4432-18

{Phys Total Care}
Gaza
TAB, PO, 35 meg-1 mo,
288 G8... ee eae 54068-0528-01

GENORA 1/50 (Augby)
mestranol/sorethin
TAB, PO (3X21)

B35 Boose BOS36-4059-a4

As ea... D0836-4058-48

16.55

5.59

52.50

105.00

= seen ‘
: Tedietnes.ta 0% ae “ag
Matar: ae 95° :

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dnaihesr tag Nan cay ona ey aap Ache mt cs,

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EDiBO OKa

La bnd ty acs

* somairopin’~. os

AS ngess oa.
6.8 mg, aa,
- TINTRASIR
5.8 mg) 0a.
_ 5s aa.
“UNTRA-MIX)
* 5.6 mg, 58 0a.
13.8 mg, ea
258 BA ss aseups

Thu, ME {LIFEGARE}. .
* 1,2 mgfmi-Q, 9%,

80 mg/100 ined
“FE 400 mi Bs .
~ 490 ma/100 nea
F100 mr2ds:

(3, Grau Gaw)

GENOTROPIN {Pharmacia/Upjohn)

Pol, W (INTRA-MIX, PREY ANT :

Ci 0813=2608-94 "315.00 .262, 50
+ D001 2026-91 210.00,175.00
re CO0013-2618-81210:00 175.00. eS
+= 000T3-2626-04, 4950.00 875.00

‘ 00013-2618-941050.00 § 053%
0013-2846-81 ~ 504.00 420.00 3°
-00013-2646-94 2520.002700. Mere

GENT, SULF/PREDNIS ACE
- (Allergan Inc) See PRED-G

(Altergan Inc) See PRED~G S.0.P.
GENT SULF/SOD CL (anni Horp)

Be te

Noms fey ares

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-b0074 7870-13 278. 60 230. 40 AP

aE ly

Mae hs

“tH; eu £109 L"PAB CONTAINER) “8
-mg/mIO.e%,

a(t BN s1O0) OD -1rleecRe ay eo Cae

MA kee 08 Sere la@arest “mer mitt enter fern iscs flee) By Perici e ley

SAY Behe Ser:
ouard Tatts "289. 58 243,84 -AP

ee oer S

10.38 °*

soe UUZ64-58 12-38
aha Waites: . . ,
/DO264-BR1S-38 10.79 24k -
+ (150 MLPA CONTAINER) “+ .
8 wee
076 vs
aaeeeasae cas 0264-SA08- a2 40.78 oF
Gann Bak det ew
IRS, Wd, 12 ingir-0.95, hoo. be
- BO md 243,.....0005 n0ssi-a607-1 222.91
1.6 mye. o%,
50 mi 24.......-. vb 00338-0500-41 237.89
100 mg/100 mil-}
100 ml 248 .,..5... 00398-0s05-48 258,62°
80 mg/190 mi-0.
100 ral 243 .......,00398-0501-48 222.91
100 mi 24s oo... O9338-0507-48 963.54
6.8 mg/mi-f.8%, .
50 ml 248.......... 00338-0503-41 213,53
(WIAFLEX)
0.8 mg/mi-0.9%,
100 mi 24s ......., 00935-0503-48 237,89
2 mg/m!-0.9%,
§0 ml 24s.......... 00338-0511-41 258.62
GENTACIDIN ({Clba Opnth)
penismicln suliste
SOL, OP, 3 mg/ml, 5 mt... 58788-0365-05 9.25
GENTAFAIR (Quelliasi)
gentamicin suliate
SOL, OP 3 mgmt, § mi... 00603-7156-37 5.40
GENTAK {Axkorn}
geatemicin sulfate
DIN, OP, 3 mg/gm,
4.500 gm..... - T7478-6284-35 12.75
SOL, OP, 2 mg/m, 5 17476-0285-10 5.54
15 mi....... eee. 17478-0284-12 13,97
GENTAMICIN SULFATE
ogy
GRE, TP, 0.1%, 15 gm 1.80
30 gm, 6.00
ON, OP, 0.3%, 3. 12.41
TP, 0.1%, 15 gman 1.86
30 gm 443
SOL, OP, 3 MOM, S Mv ecscsesescccesescescnenes 240
15 mil 401
(APP)
INS, Ws (M.D)
40 rool, 2m... 63323-0010-02 2.26
20 MI... eee cee 63323-0010-20 = 12.64
{BULK PACKAGE)
40 mo/mi, 56 mi... 63323-8010-50 32.59

AP
AP

aP

om 40 gyn 2 nt 25s" H0007d1207-03 | vos

CAE, TP.0.1%, 15 gm.

(Antit Hosp} 2 a
IN, bd (VIAL + ADD. VANTAGE) 3 ag

1 mol, 6 mi 25s... oon74- reset, “ $82.09 196 50 AP
ot 8 mb 25s.; .

;, 10 ml.25s, 22. sn aos 0O074.3400. 01 7, 185.842 “166: 40. AP

“via. FLIPTOP). wo

- (Akon) See: ‘GENTAK . :
llergan ine} ‘See BENOPTIE' We. FES
(Attargaa Ine) Sae GENOPTICS.0.R Co

(Allscripts) ee, rat,
CRE, TR 0.1%, 15 gm. 54569-1117-00 923-7 oe
ING (MAL) © Tae ne i

204k

40 rapéml, 2 ml 25s. ”. 54569°3140-00 da
OIN, OF, 3 mofgm, 3.500 pmS4569-1270-09 13.50: "EE
TP. 0.1%, 15 OM...csas SASGO-T4-00 | 3.26 Cee. 4
SOL, OP, 3 mgéml, § mi <[SE4569-Tt88-00 < “aeg fe
WGA ceeecceee eee BAS69-1278-00 © 8.95 i BE
(Bausch&Lomb Pharm) ° . . io
SOL, OP, 3 mg/ml, 5 tol nn 26208-0880-60 > 7.19

(Cardinal Pharm)

os M17B4- 0182-15
41764-0192-30-

“1700074:7888-23 ° - au 9¢ 26036 -ap:-|-OIN, OF, 3 movom, 3.500; GM1764-0973-04_ 14,52

TP, 0.1%, 15 om vt BeIT72-15 * 18.80

% sages 93-05 ter":

ie

OW, OP 3 mg/gm, 3.500 m56175-1297-01 7434

“TR OTK 15 9m...2.55
yim;

“(Ciba Ophih) «
OIN, OP, 3 mg/gm, 3.500 grieret-bas-6 1458
(Clay-Park) : .
GRE, TP. 0.1%, 15 gm... ..45802-0056-35 ‘300
--A5002-0056-11 4.90
-;+-00414-0056-05 86.40
IN, TP, 0.1%, 15 9m .....46802-0046-35 3.00
BOOM nee eeesuses 45502-00611. 4.90 rm
454 DM... cesesaes 00414-0046-05 86.40 i
(Compemed) Po
JNJ, Md (M.D.M} rF
40 mgiml, 20 mi ..... 00403-0050-18 = 7.10 fe
SOL. DP. 3 mg/ml. § ml ...09403-0955-18 8.25 EE
TG Me. e eee eee 80403-0054-18 = 4.80 FE
{Cansolidsied Midland)
CRE, TP, 0.1%, 15 gm. ,...00223-4304-1§ 3.25 & rr
INJ, 1 (VIAL) a
10 mg/mi, 2 ml......,00223-7715-02 1,75 cE Ia
2 mi 25s.........,.00223-7714-02 37,50 FE + 3
40 mo/mi, 2 m.......00223-7749-02 24.25 ey
2m 288....0.0.... 00223-7719-25 52.50 cE}
2mi28s.0......0.. 08223-7721-02 50.00 cE i
20M. ceeseee, OOZES 7717-20 8.25 ce ly
OIN, TP, 0.1%, 15 gm.....00229-4306-15 3.25 ce] 4
SOL, OF, 3 mg/ml, § ml ,..00223-6651-05 4,75 fe
TSM... esecseee 00223-8867-15 5.50 cE
{Edwards} See EO-MYCIN
(Elkins-Sinn)
INd,4J (VIAL, DOSETTE)
1 ma/ml, 2 rol 25s... 00541-0994-25 917,71 14.17 AP
40 movml, 2 mé 25s, ..00641-0395-25 26.04 20.83 AP
(M.0¥)
40 mg/ml,
20 mi 10s........,,00641-2331-43 104.13 83.90 AP
(Fajcon Ophthaimtcs)
SOL, OP (DROP-TAINER)
A mgimi, §mi........ 61344-0693-85 7.06 at

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RX PRODUCT LISTINGS .

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Fougera} .
GRE, TP. 0.1%, 15 om.....00768-GO71-18 3.60 aT
GIN, TP, 0.1%, 15 gm... 00168-0076-15 3.60 aT
{Genava)
CRE, TP.0.1%, 15 om.....80781-7310-27 3.10 aT
; OWN, TP, 0.1%, 1 gm..... OO781-7320-27) 3.10 aT
(Major)
SOL, OF, 3 mom, Sm ...00904-1907-05 5.60 EE
14 m.. wee OO004- 1907-98 7.35 EE
‘yMudisca)
; Pa, (U.5.P}

SOM reece e scene eee 36779-0632-03 = 13.50
« SOTTA-0632-04 54,00
+ 40779-0632-08 | 176.59
. 38779-0632-08 800.00
- 98779-0632-09 1468.60

,,00839-6492-47 -3.29-2.59 AT

,00899-6503-23 2.15 1.59 EE
-« OONIGHGO4? = «3,232.39 AT
es 7 DOESS-5745-25. 5.52 4.09 AT

Smgfmi, 5 mt...607S8-0188-05 = 8.75 aT

: O0874-0479-01 253.86

aor, 300 grikiaiteze 1650" EE
S2080-1922-002 74.99" iF BE

2050-1922-1863527.60 cage BE |

oa) BREA yd, asad aan

Saued-a6iedd 2.94
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SAQ6E-G745-012 (¢ ZAR 2D AEE
8.0 3% 2, EE

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Case 1:01-cv-12257-PBS Document 459-2 Filed 08/05/03 Page 17 of 25

: ‘poses-006e-35° B55" CBE
my S1S00, MmOO6ES-05 78-86 0. 4. “qe. EE
an O6Se0045-25 |

:WOGKG-0680-84 = 6.005 «°° EE

O059E-4470-28 7.20 uv

C0536-4696-67" 4.95
-O8636-4600-73 11.25 |
OM 2, 00836-4480-28 6.18 ,
on i tneae tes 8 7s :

AP’
OUaB4- 7238: 20 §.Sofhvene’: ap
gS 7330-55" oo 4785. oy Al

ee.
mS me. onens-osae-80% * Sige? 7 ep

343/GG/HY
bare Pa a Ma PMC ies | Banas Ey et
(Southwood)
OIN, TP. 0.1%, 15 gm...,.58018-3028-18 15.95 EE
SOL, OF. 3 mg/ml, $ mi ...58018-6027-05 14.86 EE
(Thames) :
GRE, TP.0.1%, 15 gm.....<90S8-0182-20 3.56 aT
30 gm 49788-0162-68 95.72 aT
GIN, TB 0.1%, 15 gm.....49158-0197-20 4,00 aT
30 gm..... .. 49158-0191-68 = 5.80 aT

(UAL)
SOL, OP 4 mg/ml, 5 mi ...00877-0901-20 6.07 aT
(Zenlth Goldline) GEREF (Serono)
SOL, OF 3 mg/ml, 5 md ...00t82-1695-62 6.13 aT Sermaraiin acatate
GENTAMICIN SULFATE PEDIATRIC (APP) "3 mg. on int
gentamicin sulfate img. ta... 24.63
INS, WJ (M.D.W)

10 mg/ml, 2 mil,......68323-0513-02 1.46 ap | GEREF DIAGNOSTIC (Setana)

(SDM,PE) sarmoretln acetate

10 mg/ml, 2 ml.......68323-0173-02 1.46 AP | POH, Li (VIAL)
GENTASOL (Qcusctt) : 50 meg, aa..,......., 44087-4050-07 22.69
gentamicin sutlate . GERIMAL (Rughy)
SOL, OP. 3 mg/ml, 5 mi ..,$4799-0510-05 638 2.95 AT | @egoloid mesylate:

TAB, PO, 1 mg, 100s ea ...00536-3886-01 29.46 AB

G@-200 NR {Alphagan) -

{ : ae aaa guaitenesin
(Amand) - : - . TAB, PO, 200 mg, 100s ea .59743-0019-01 24.92
CRY, (U.S.P} w : GG/RYDROCODONE (Allecripis}
RBM. eee seeeaee 17317-0183-02 7.50 LIQ, PO, 100 mg-§ me/5 aml,
i” am. ve nS tae . 450 rm, C-lll....... sas0R2a1 20 36.29
(Gatpat) Ne ga es a {Alphagen} See COTUSS-V'- .
CRY, (USB) a . na, (Aipharma USPD} See HYCOSIN EXPECTORANT
§1852-0297-25 17.70 - (Amer Generics) See CO-TUSSIN
to  MESLAZTT-A2 95.52 (Aschar) See KWELCOF
POW MUS.) ee egy: (Sypress Pharm) See VITUSSIN EXPECTORANT’
: ‘ 05824-8227-25 19.97. (Ouramed) Sea MEDCODIN
5 (ECR),See PEUMOTUSSIN HE

(Econaiab) Sea CLEARTUSS OH 3 te IS
{Ecadalab}:See FENTUSS EXPECTORANT — °"ufaN'S:
(Endo Lahe)'See HYCOTUSS ExPEcrORAwT "=: i

“(ettiaxy et ee
UO; POLAR, DF, SF}. comin Pen
YF 100mg mgs mf, 7 SEES A
480 ml, Golll -..... .SO77-O881-07 72

jr, B80 mo TT ORBE2 58.98.
(Halsay Drug). om the! .
“SYR, PO (AE,D.E.S.ECHERRY)’...,- - a
100 mg-5 mg/S.mi, oe .
480 mi, Col... n087e- 0600-16. ABAD stthashe
T (Hi-Tesh) See HYORO-TUSS:~ Rr oe
| (lomed Labs) See vicoctéaR © St 8K,

GENTRAN 40- WADEXTROSE (88 ante ree ee Seen | (knoll Labs) 'See! vicoDin Tess EXPECTORANT * tase

eX Iogtargunint

dextran 40/dextroze.. .,
NB saa ares {Xramacs Urban}.
Wd, 1, 10%-5%, © eh gest Ceaeea eS | Lig, PO, 100. mg ‘mis My 28S ate a ary
500 mi 24s ..,,..., osase-0272-63 2386.32 . 480 i, C-IN,...,..02178-0122-70, 32: Wiese 3
GENTRAN 40 W/SODIUM CHLORIDE {Barter} : . :
dextran 40/s0d el . (Lue Pharm) See ENTUSS ' eget
Ind, Ul, 10%-0.9%, _ te sme . (Major) See CODOTUSS Be bia ade
S00 mi 24s . “ joadecozr0-03 7386.32 (MeNall,R.A.} See M-CLEAR
{Marlon Grove) See A YDROCODONE Gf. ue od
{Pharm Assoc). cho. x
. SYA, Po (BUTTERSCOTCH) Tt a,
sa ; . 100 ma-5 mg/S mi, Loom ° ©
SEOciLUi U Gb coos ~ Sami, Gil 00121-209-05. 98.00, : yey
earbentcillln Indany ; “ . : 10 mf, Cell ...,....00721-0809-10.. 120.00 “ ,

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SSR:

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TAB, PO, 382 4 ‘ au . 47a mi, Cll 49.24
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{Qasllty Care) -
SYA, PO,,100 mp- 5 mg a
oh 20 MC. Beet
(Rugby)erse...
va PO, 100 mp-S mys mi. XE
g) oct 480m, CH. 80538-2740
“| {Ruaby) See HYDROTUSS
(Seheiny

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Ste eho toh
TAB, PO, 250 mg, 405 ea
500 ™), 40s aa

TAB, PO, 250 mg, 1006 ea. OO830-5188-05 -
100

sea. +. DRSIG-§188-18

a 00 mg, ;' Adts aa. canes
1008 ta...... - O0830-1766-08
10006 1a O0830-1768-16

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Spaereccoeiae’ = 2.804

(PO-AX Pharm} See PENICILLIN VK ne

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POR, PO, 426 mai ma
100 ee

wa hae 5 thet -
{Pharm Corp/Ameriea) + Ene WARE eos

TAB, PO, 250.mg,.208.08 3: 81656-G009-62 -.
St MDs gat... eT OTRLES-O0e-ST
Be 500 mg,120s ea aa le

O55-0810-81

{Phys Total Care)
POR, PO, yas mg/5 ml, -

«- SABBS-9173-01
~~. SA888-1173-02
- -. 64988-1973-00
" ..  B4B8E 1179-06
10005 88... eeeeae SASGE-1173-04

(Quaibtast)
TAR, PO, 250 mg, 1000s 22.00603-5067- 32
500 mg, 1005 ea ..... BD603-5058-21

(Qvality Care}

- Taa, PO. as mig, 45 ea... G0340-0M1 4-44
ov AOE

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80346-0005-12
+ BO345-0095-14
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- - BO046-0095-20
- -60346-0085-21
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f 250 nos mi 4100 mi 759098-1028-01 +;
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0345-0005-30——— 6;

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2 ml...
TAB, PO, 250 mg. 108 ea “'6a018-0146-10,"-
. «BOOYE-T14E- 32

250 ma mi, 100 mi . 60003-4127-7a

200 ml i:.
TAB, PO, 260 mg, 100s ex .00083+1172-01

1005 68.n vvrnenin T0008 171-01
, DOOTE-1172-10
, 00003-1171-10 -
“OOOO 74-01
"5 80983-1173-01
80099-1174-10
+ 00093-1172-10

Certo) See TAUXCILLIN | VK

(UDL)}

TA, PO (10x10)
250 mg, 100s ea UC. $1078-0615-20
S00 mg, 1008 ea UD. .51079-0618-20

(Warner Chilcott Gen)
TAB, PO, 250 mo, 100s ea . 00047-0548-24

10005 #a ..... - DO047-0548-32
500 mp. 1005 4a .....00047-0679-24
BOOS 8d... eeee eae 00047-0672-30

PENICILLIN ¥K (Compumed}
PDA, PO, 250 mp/5 ml,

TOO M wee seeeee 00403-1024-18
200 Ml see eeeeeee 00403-1626-18
TAB, PO, 250 mg, 20s ea. O0403-1628-20
Zee ea. 90403-4626-28

408 aa... 00403-1628-40

500 mg, 00403-1630-08

203. 64........ «2 0Q0403-1830-20

245 0a - + 00403-1630-24

Sts ca 4» 00403-1630-30

40s sa... -» 0G403-1830-40

100K @8,..... 62.20 00403-1630-01
(PO-RX Pharm}

TAB, PO, 250 mg, 10s aa ..65200-0206-10

55289-0206-20

55Z59-0205-97
55289-0206-25
55289-0206-30
55289-0206-40
54864-0379-40
$5789-0207-15
.« 85289-0207-20
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(sk Beecham Pharm) See SEEPEN-, WKy nth: Be aay ae

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Lae mena)

PENTASA (Roberts Paar)
Mesalamine «7°

GER, PO, 250 mg, BOs sa..54092-0199-90 |

14 Gd 2808 Be mine na S40R2-0180-81

pantastarch’jths ©. fcc
TH, 10%, 500 mi 108.

PENTASTARCH
(a2 ‘Pont Pharm. } See PENTASPAN

PENTAZINE (Century) |
promethazine hydrochlori¢e “ ee
INd, LI (VIAL)

-360 mgémis-10 mi;
SYR, PO, 6.25 my/S mi,

PENTAZOCINE LACTATE
(Abbott Hosp) See TALWIN LACTATE

PENTAZOCINE/APAP

Hips Abbak,, 1-21
PENTAZOCINE ASA u
SEE ASMPENTAZOCINE

PENTAZOCINE/MALOXONE S

‘SEE MAL OXGHE/PENTAZOGINE: feed
TARA DDS hie

PENTHRANE (Abbott Hosp)
mothoxyflurans
SOL, 1H, 99.9%, .

15 mi 208. ...2..... o0074-6864-08
PENTOBARBITAL
(Abbott Pharm) See NEMBUTAL

PENTOBARBITAL SODIUM

(Abbott Pharm) See. NEMBU TAL Sonu

(Wyeth-Ayerst)
INd, LJ (TUBEX, 22GX1 1/4")
50 mg/m,

2 mil 10s, C-il...,.. 60003-9303-02
PENTOSAN POLYSULFATE SODIUM
(Alza) See ELMIAON
PENTOST!

STATIN
(Supergen} Sae MIPENT

PENTOTHAL (Abbott Hosp}
thlopenial sodium
POI, IJ (SAN, READY-TO-MIX)

250 mg,
25s 6a, C-Ill . - 0074-6418-01
(SAN, RTM LIFESHIELD)
250 mg.
255 ea, Gli ws... 00874-3351-01
(SAN, READY-TO-MIX)
400 mg,
25s 4a, C-IM _...... 00074-6419-01
(SAN, ATM LEFESHIELD)
400 mg.
25s ea, C-lld ....... 00074-3352-01
(SAN, READY-TO-MIX}
$500 ma.
25s ea, C-llt.......00074-6420-01
(SAN, RTM LIFESHIELD}
3500 mg.
25s on, Gelll ......- 00074-3353-01
{STERILE WATER COMBO PAK)
500 mg,
258 ea, Gelll .......00074-3329-01
1 {BULK PACKAGE)
1am,
255 oa, C-I 2.2... DO074-6431-02

"00058-0081-95

+ BOSE-0280-70

28.54 22.89

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r vancomycin tyeeinge ovens STA a cou oF us | -
By »-| omg. 20, fa : - “60.54
PDL S00 ma, 108 sap=onzas-s] 54-88 54.59 S75 A 1005 8a, O0009-3517-02 29g: a Oa
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‘VANCOMYCIN HCL carey ©
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SPOIL (VIAL):

“pp!
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VANCOMYCIN ‘HYDROCHLORIDE fe
APP) SeeV; ANCOMYCIN HOLA .

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19 9m...... oss-t040- Sosa? 1O.9M, BR... e764 wP ‘100 mg, 208 ea

; wou ol. | (xbbott ytd, BO ‘| (Cheshire) ‘-
| ime . 7 oo ra “ee era agg i 10 170,40. AP
. ao, S00 mg, 10s 64 ....., AW 40 Al
SPR, NS, 0.084 mg/inh, : a tuetan : {ar A om - BBY75-0103-01
OM ee SASECH465-00 4823 - “| 4 2800mmg, 108 4a. sepg OONT4-4832-01 983.97 308.50 AP | _ <40p my .
{Pharma Pac} oe, . ~ . GE) * 61 " “= 100 mi cvs us BSTTEO102-01
i oe te Rel aot agen 261.84 220.50 a | TAB, F200 408 ta ‘Baba .
‘| SPAREN , 0.084 man, oy 727.82 612.90 ap -| .7.:20888.-- 8 1-09
: (Monsees 52059-1437-19 ferndea: 2612.90 a (Compumed)
i VANCERIL. (Key) ee tonne i+ 968.72 197.87. ae i etre
i ‘baclomethasona’ “diprapionate e. . ek ers ‘| TA8, 100 m0, 148 ea . 00403-0691-14
‘ ARD, 1H, 0.042 mg/inh, © coe no chet vw Nae 27 ; = 200 mig, 145 ea . vt... DO4DS-4537-14 49,70
ys 16.800 pm. ae eo MMM] 22, 20 mI Be. eM RTBO2 103.94 A {PO-RX Pharm) ober. ;
] Materigty) 4217 “520 “83 | (laderte sid PE
4 . 0 me. toss. .55280-0390-10
| ALUNy) See VANCOGIN HCL. ee ee ALS ite 88289-0250-20
‘{Llity) See VANCOCIN HCL PULVULES » | fduatty caro)
‘(Modizca} . : ,
U.S.P)

Seneaeat 2850 ') TAB, 200 my, se aa. 0024e-ose1-1 6301
sBST7O-O2Z74-15 121.60--.0.-> *] VAQTA (Merck)

O8770-0274-25° 485.50 | 4 fapauils a vaccine, Inactivated ws
38779-0274-10 1501.00. : At (S.0.¥.} .
OMS a es : Mt whi, mt.

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i
7) PO MD.) me “(SRN, PREALLED)

Lay
Ly oh "gm, 1s 0a. onaee2aTs-01 “148, 0 w 4. ‘SOY
" 7) WANCOMYCIN/DEXTROSE Tae a. “60 wimi, t ml Ss
; ef SEE DEXTROSE/VANCOMYCIN' : | 3 (SRA, PREFILLED)
ARD, IH, 0.942 mg/nh, dt . . : uml, 1 mi Ss. ae tee
Ho < °M16,800 gmc. eee. ea mM. a are aN Nan FORTE-R (Jonas Pharma): Allscripts)
(Phys Total Cars) . 8 | Car PO, 12 mo-75 mu, rae
Ce * woes we, Sesorzt- 2844 ogg | IND, y AORN, REFILLED)
AAG, 1H, 0.042 mg/nh, . vot VANEX Care | 1 nes Pharm 50 wml, 1ml.....7., Sé569-4459-00 545,83
16.800 gm 54868-1841-01 45.61 an ones mss bettescecees SA580-4951-00 277.45
2 CIN DM weer eees i epm/dihydracode raihenylop pa VAQTA
VANCERIL DOUBLE STRENGTH (Key) LIO, PO {A., S.F) Peet IATRIC (Merck)
baclomathazone dipropionate: .. 473 ml, GV. - FA83-0240-18 6.65 Mewisay ea ee Inactivated
ARD, 1H, 0.084 mg/nh, VANEX-HD (Jones | Pharma . Co
© 72.200 0m.......2. On0eS-1112-01 51.28 Somarsrosodone/phanyleph - : 25m eussvenees e000e4831-00 31.46 25.17
{Pharma Pac} SYR, PO (AF. OF, CH ERY) , |) (SRN,PREFILLED) «
2 mp-1.67 mg-5 mp/5 mi 25 W/0.5 mi, 3
AAD, IH, 0.084 mgstnn, 473 ml, GAll......, 72460-c200-+¢ 42.51 0.500 mi... 000484500 31.46 25.17
12.200 gm... 52069-1486-61 52.77 re goy) m
Sertooan nt, aazier) sats mi Se veeseeee D0006-4831-38 145.44 118.75
I, WW (GALAXY SYSTEM) ee : £ RE LED) :
5%-500 mg/t00 mi, ~ mn 500 am Bs... O0006-4945-38 148,44 118.75
(Amend) , I.
100 Meas 00338-3551-48 1753 baw. (NF) VARICELLA VIRUS VACCINE
(Lilly) Jn trydrochloria : 125 Ofte ees eeees 17317-0596-04 = hag (Merck) See VARIVAX
paneamysha bya . (Iotegra) VARICELLA ZOSTER IMMUNE GLOBULIN (Amor Rad
500 + .00002-7297-01 8.28 ap | POW, (NF) Croxs-Bland)
oe002-7297-10 82.50 ap 100 git... O5324-8161-35 = 16.54 varicalla-zoster Immune globutin
me ea SOO QM... iccccee, O5324-5167-45 44.22 INJ, W (VAL SIZE APPROXIMATE)
Adas- L u, 1.250 mi... 52769-0118-02 125.00
ADD ANA) vee Gondz-1444-25 195.01 ap PowSe) 625 u, 6.250 ml... 52769-0198-10 $62.80
My Bee eeeesaseree 00002-7206-01 16.08 ap 40 gm... +++-+-23535-6160-50 2.00 VARICELLA-ZOSTER IMMUNE GLOBULIN
{reareany . --+- BSS35-6150-80 5.50 (Amor Ried ross Blood) See VARICELLA ZOSTER
MBB cee. Ob002-7321-01 15.80 AP - RA53S-6 160-10 | 19, IMMUNE GLOBULI
ioe. VANTAGE a
Tgm, 105 4a......... 00002-7298-1¢ 160.81 AP YARVAK re)
(TRAYPAK} nee POT, WW (SOV WAHLUENT,TAX INCL)
gala seeeeeeee 00002-7321-25 390.01 AP VANOXIDE-#C (Dermik) . 1359 ptu,,23 -- O0006-4526-00 56.04 46.43
..00002-7956-07 156.01 benzoyl parox/he - 10s'ea#, ~-00088-4827-00 953.30 442.64
POR, 8 0 mors mi, : AP | LOT, TP. 50.5%, 25 mt. .00088-0424-25 34.28 iAllseripts)
easaeneusaneee 00002-5105-01 37,08 as | VANTIN {Pharmacia Aipjobn}
50 mu ove 00002-6105-16 297 45 AA eulpodexime proxatlt * ; y is .D.V. W/DILUENT)
500 mg/& mi, GRR, rs 50 mys mi, 50 pt, aa... 54509-4055-00 54.71
120 Meese 00002-2872-37 314.39 ees i 13.08 “sea 84560-4056-00 512.24
VANCOGIN HCL PULYULES (Lily) 100 mi teen ‘LOD00R38S1-01 34145 2871 ({Compumed)
ope hydrochloride t09 mats mf, 5D mi ..Q0009-3615-03 34.45 2871 r
Pe 125 ma 20sea..00002-3t25-42 07.56 | ag OD O0009-3615-02 51.55 49.96 Di, IW (5.D.¥,)
0. 205 6a ..,.., O0002-3126-42 215.13 toon i peeeseeenans 00000-3615-01 65.54 54.59 1350 pfu, 10s ea..... 00403-4975-18 433,08

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RX PRODUCT LISTINGS:

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mg-5 mm:
a UB ct... o0e4e.o727-41 55.46 46.20 aA
Hogs ea, Cl s buvednraras ofecas S22 MA

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P., 4X25)

Cell 21 0044-0728-03 2401

._ 54804-9031-00 19.91; AA

18.69 aA
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ne Koll Labs)
FAR COLOR PHOTO

OO0RMOT2N-07) F794 77!AK
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ECTORANT {Knolk Labeps cred
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Pema 0 voeee d730°10 ‘e4.08 28.00 :
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‘VIGOREX Vigorex)
mls, maltl/vit; multl-4759
«| TAB, PO,4008 ear, <

a fe setre ||. (Lilly) See ONCOVIN: =
73" | (Pharmaciaftpjain) See ViNGASAR PFS . "
a> ‘| VINORELBINE ZARTRATE®? % tiet it 6% ts. <shcga7

:| (Glaxo Wailcoma) Sea NAVELGINE = .:- ‘
¥I0-MOGRE (Moore, H.L,}-j
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AB, PO100s.08 ..0.....00839-7018-G8 | 12.04; 9.49. LE

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4X25)
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S008 44. Clf...... OG044-0723-03 418.50 334.30

(PD-RX Pharm)

» PU, 7,5 mg-200 mg,
15s aa, Cl nee
uatserits) (Pharma Pac}

150 mg, 608 ea ......

(Campumad}

ed AA
ee C-ttt,., 000a4- 0728-41 61-16 50.98 AA ae.
3 19 200. GTB, PO, 100 mp, 60s e..00403-4S01-18 82.50

"|. (Phys Total Care}

CTH. PO, 100 mg, 60s ea.,$4868-2502-01 122.56
WIDEX EX PEDIATRIC [Bristol-Myer Oacftam)
POR o 7. 10 O moi, oy

- MMT SBS241 34,70, 28.80 ~; 2).
soe BOOST -AORIAT 72.52, 60.18“:

dm

Pa eat

: » 1703-8310-18 rst
(UNly) See. VELBAN

VINCASAR P
vincristine solla

*s

"t ‘mam, 10 Mircedas sosze-oz7et02a3. Se
Pears 2m

whet 3 a tives ve

55289-0340-15 19,27

00 mo .
108 ¢@, 94.45 AA 20s am i vv AOS. 4573-20 29.78
f { 18 AA 30s ea, Gell 12...752050-0522-30 39.40
: AA
"N83 M Ano Te } 200
12.35 A ei nn s20s¢-3522-40 51.55
6
txepomes) wactuss (Southwood)
0 mg - Raa
| R, PG, 00 n m +
195 a ei a3 u 130 mi, ms mS ceseave a0t6-4184- 4 11.50
155 ea, C-lll 7.40 AA 480 ml, Clit... SQ0t6-4184-16 41.95
30 ea, C-Il : 1475 AA
Le VIDARABINE
D-AX Pharm) (Manarch) $26 VIRA-A
1. VIDEX Belatol-Myer Oac/imm)
“1s aa, a ea Wee... 55269-0116-12 6,97 AA didsansine s Loa PHOTO
are EE SECTION 7 FOR Ca
Phys Tajal Care} GTB, PO (MANDARIN ORANGE)
0 mo-5 mo, 25 mg, 60s ag......., O0087-4650-01 27.21 22.59
raps a 54888-0002-01 18.22 AA 50 mg, 60s ea... GO087-8851-01 $4.41 45.15-
100 mg, 60s ta ...... 00087-8852-01 108.80 90.29
150 mg, 60sea...... @0087-6853-01 169.22 135.45
7 1 POR, PO, 100 mg, 30s ea. wees aa $5.15
+ €0346-0057-12 1.75 aA 167 mg, 30s ea ...... XO0ST-6615-49 . .
; SUNT @0946-0657-20 1888 a ay:
8 42, : er ay ES a 250 mg, 30s ea ......Q0087-8818-43 136.01 112.87
ee {esi ‘Labs) erg
rfOR COLOR PHOTO : CTH, FO, 100 mg, 60s ea..54500-3057-00 92.63

54569-3071-00 132.97
4 +

sade SO feat
7 tala. it

rs {Pearman

AAT ee AE HE a

(Fatiatan Fi balm Dsgeakerregea |. . eats WE
th ..61703-0300-06* 31.75 Bea" AP

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595/VIROP

ET 1

RED

fetele)]
VIOKASE (Paddock)
POW, PO, 240 gm.......,
TAB, PO

(ETERNAL WATER $

VIQUIN FORTE (ICH)
hydroqulaone
GRE, TP (W/AHA}

“é%, 309M...

MIRA-A (8 (Monarch)
lida
O.N, OP a, 3800 gm...

VIRACEPT {Agouron)
calfinayvic masyiste-
POA, Po. iho mart Ont, 6"

° | SUS, PO, 50 mgs mi

(Fo-nx Phat
AB, 200 mg. 35 a.

| (Pays Total Ce. ‘ee pete ok
ap: | 28, FS, 200 TG 1005 aa, saseastaaon 472.59*2°°

VIRAZOLE (lcK}
Abavlrin
POR,IH, 6 gm, 43 aa......

VIRELON (Star)

Meathyltestosterone | ee
CAP, PO, 10 mg, ™
700s 0a, Cll...

_ 1000s 02, Cl,

testosteroaa cypicnate

TIN, MDW Ye & at
oat 200 mgfmip,

10 mi, CHa sere

tifluridina
j] SOL, OF.1%,, 7500 mine

{Allscripts} ”
tgter
S 1%, 7 500 mil.

<_| (Phys Total Carey

Lb, OP..1%, Simin.

te

PRET TA ETS

(10X10,5LISTER PACK}
"900 mg, 1008 2.UD  MUOSAA647-26 432.00
mete

VIRILOW (M4 (stan) FS.

vIROPTiC (Mozarch} Tete =

BOOK "

Ay altel elroy

pie} ae RTS] S]

er iy

amylase /ipaze/protease

00574-9915-26 138.10

0,000 6000 u30,000 u,
100s ea, 40574-9111-63 = 33.60
5003 oa.

00674-9711-70

17M 7-0918-G1 | 196.00
OLUBLE)

STHI17-9817-01 210.00
.17397-0818-05 945.0
SOLUBLE}

- 1739 7-0917-05 1015.00
. 17317-0998-08 4550.00

Var
Come EANAL WATER SOLUBLE}

- 17317-0917-08 4900.00

OOTS7-0308-3T 41,45

. MO0T1-3677-07 24.81

BSOTO-OOTT-O0 59.45,
-- @3010-0019-27 $63.20

2a

3} TAB, P a

: 250 ing aa venaee SS175-5208-07""'70.59
(Phy Total Care) .
AB, 0 (CAPLET). oD ag o wen :
‘aa’ 250g, 2708 Har: 54668-9047-007'619.79,-
VIRAMUNE (Roxane); jae wl,
fewicaplng ss .-. ex. she CBE ne

O40S4-9605-58 56. 20

-BO084-4847-21 254.54
0005-4-4647-25 424.80 .

mute

4s ae

00787-0007-01 5279.40 -

“%

00076-0961-03; : 36.00 ~
.. CI7B-0301- 04 is. 20

A Mayan. 2
ooeT-o201- 10, fa. 19:
bat7s-0088-02" + 374, Aden

deel 00, 6. 66

- $5206. 0002-69 eee
ALES .

Sase t:O6+-e--42252.-PBS. Document 459-2 EFEjled 03/05/03 Page 20 of 25
Case 1:01-cv-12257-PBS Document 459-2 Filed 08/05/03 Page 21 of 25
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9

ACIDO/162

Chasbire)

GEL, VG (W/APPLICATOR)
0.92%-0.025%-0.7%,
BEM... cee eeeee §5175-1767-01 35.46

Phys Total Care}

GEL, VG (W/APPLICATOR)
0.92% -0.025%-0.7%, ‘
OO git... eee 54868-0377-00 34.90

POW, 500 gm.,........... 62991-2001-01 | 105.00
1600 gm.. - 62994-2001-02 162.00
2500 am... veeeeeye- O2001-2001-03 364.50

ACIOULATED PHOSPHATE FLUORIDE
(S01 Labs) Sea NAIMAX APF

ACIDULATED PHOSPHATE FLUORIDE (Moricn Grove)
sodium fluorida
SOL, PO (A.5.£,CHERRY-BANANA}

1 mg/S ml, 500 mi....60492-0114-417 8.31

ACIPHEX {Janssen}

rabeprazale sodium

ECT, PO, 20 mg, 30s ea ...G2086-0283-30 110.88 92.40
(40X10 BLISTER PACK)
20 mg, 100s ea UD... 62656-0242-41 369.60 308.00

ACITRETIN

{Roche Labs) Sez SORIATANE

ACLOVATE (Glaxo Derm}

alclometazone diproplonate

SEE SECTION 7 FOR COLOR PHOTO

CRE, TP, 0.05%, 15 qm....00173-401-00 = 15.10

aS5gm..... .00173-0461-01 31.48
GO OM creer eee eee 00173-0401-06 = 39.85
OOM, TP, 0.05%, 15 gm....00073-0402-00 15.10
M5 QM. ..eeeee eee OM17S-0402-01 931.48
60QM........00.0- 00173-0402-08 39.85

‘Allseztpis}

OWN, TP. d.05%, 1S gm....54569-2542-00 9 15.10
(Cheshire)

CRE, TP, 0.05%, 15 gm...
Phys Total Care}

-55178-1482-05 = 20.85

CRE, TP.0.05%, 15 gm....54868-0975-0% = 17.20
OIN, TP, 0.05%, 15 gay... S4868-3936-00 15.83

ACNIGEL (Ampharca)
benzoyl paroxida
GEL, TP, 10%, 68.050 gm .69015-0190-01 141.00

(Amend)
POW, (C.P.)

OS OM....-..--2-2 eee V7317-0807-02 = 19,30
ACRIFLAVINE NEUTRAL (Amend)
acriflayine
POW, (C.P.)

QE QM... cecevevenee 17317-0008-02 19.36
ACRIVASTINE/?SEUDOEPH

{Medeva) See SEMPREX-D

ACRYLAMIDE (Beker, J.T.)
POW, (ULTRAPURE. SLIOREAGENT}

TOD OM. eee 10105-4061-00 = 33.94
» TOVGE4081-01 111.19
+ 16006-4901-85 442.44
10106-4681-07 1597.79

ACTHIB (Aventis Pasteur)
frasmephilus b conjugate vaccine
POI, 1! (SOV WADILUENT, TAX INCL)

10 meg, 5s ea........ $9281-0545-05 = 125.46 101.12
ACTHREL (Ferring}
corticoralin ovine triffutate
POI, WW {5.0.¥,)

Omg, @a........... S5566-0302-01 372.50
ACTIBINE (Consolidated Midland)
yohimbine hydrochtoride

TAB, PO, 5 mg, 100s ea ...08229-2301-01 27.50
1000s ea... 0923-2301-02 250.00

ane, Biel peicle NS aA

ac tremLa ie vl ee eee ed

ACIDOPHILUS LACTOBACILLUS (Meridian Chemical}

a as isles EY SP OS

ACTICIN (Sertek)

permethrin

CRE, TP, 5%, 60 gm....,.. 25074-0131-06 = 23.62 AB
ACTIGALL (Novarils Pharm.}

uraodlal

CAP, PO, 300 mig, 100s ea .GON7E-0919-05 273.02

ACTIMMUNE (InterMune)
interferon gamma-1b

IN, 1d (VIAL)
3 million u/0.5 ml,
0,600 mi........... G4t1G-2011-04 210.00
0.500 ml i2s....... 64916-0001-12 2289.00
ACTIQ (Anbatt Hosp)
fantanyl citrate
LOZ, BC, 0.2 mg.
24s ea. Cll.......- 00074-2460-24 166.73 140.40
0.4 mg,
249 ea, Cll...,.... OOD74-2461-24 214.32 180,48
0.6 mg,
24s ea, Cll... 00074-2462-24 261.92 220.56
0.8 mg,
248 ea, C-Ib 2... QO074-2463-24 309.51 260.64
1.2 mg,
245 0a, C-1........ OO074-2464-24 404.99 941-04
1.6 mg,
245 a, C-Hl.,.....- 00074-2405-24 499,89 420.96
ACTIS (VIVUS)
davice
DEV, @4 0.0... cece ee 62641-0210-01 = 11.25
6308... 62541-0210-06 = 67.50
ACTISITE {P&G Company)

tetracycline hydrochtoride
IMP, IP (PERIODONTAL FIBER)
12.7 mg, 10s 6%...... 17304-4800-01 262.80 219.00

ACTIVASE (Genentech)
allaplasa, recombinant
POI, 1 (W/DILUENT}

50 Mg, Gd. .e eee ee 80242-0044-13 1375.00

100 mg, ea .......-.. 60242-0085-27 2750.00
ACTIVE CATH SELF-ADHERING (Mentor)
calhetar
CAT, (MALE, 23 MM)

ween easaeaeene 81317-0813-00 © 40.80

Mate 26 MM)

Loasusceeeeres 81317-0839-00 40.80
Mae, 31 MM}

Daseetuvunaeees 81317-0833-50 40.80
(Mate 35 MM}

eneteeeeeeeeets 81317-0853-00 = 40.80
01917-0810-00 119.00
81317-0830-00 119.00
61317-0830-50 149.00

$1317-0850-00 =119.90

ACTONEL (P&G Pharm)
tleadrgnate sodlam
TAB, PG, 30 mg, 30s ea ...

ACTOS (Takeda)

pioglitazone hydrochloride

TAB, PO, 15 mg, 30s ea ...64764-0151-04 85.50
64764-0151-05 256.50
.  $4764-0151-08 1425.00
..- 64764-0301-14 136.90
.  64764-0901-15 470.69
+ 64764-0301-16 2281.60
. 84764-0451-24 148.50
64764-0451-25 445.50
64764-0451-26 2475.00

00149-0470-01 986.40 Bx

ACULAR {Ailorgan Ine}
ketorolac tromethamine
SOL, OP, 0.5%, 3 ml 80023-2187-09 9 24.35
.. 00823-2181-05 40.96
WOM. cece eee ee 00023-2181-10 §= 73.93

SOL, oe osm. ail... 64569-4573-00 = 24.35
vee etaeee ee eee 54568-4083-00 © 40.90

(cheshire

ee OP, bss, Sm... S8175-1208-05 47.00
(Pharma Pac)
SOL, OP 6.5%, 5a ...... 52950-1459-05 48.48
(Phys Total Care}

SOL, OP 0.5%, 3 mi ...... 4868-39040 9 25.52

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2000 RED BOOK ANNUAL

ae ea ary ile AY eee) Sat
(Southwood)
Tae
SOL, OP, 0.5%, 5 mi ...... S8016-6481-01 40.80
VO ml... scare eee §8016-6484-02 = 73.80
ACULAR PF (Allergan fnc)
ketorolac tromethamine
SOL, OP, 0.5%.

0,400 ml i2s....... 00023-9055-04 33.06

ACUTECT (Nycomed)
technetium te-99m apcitide
KIT. My WIAL)
cece dea aemaaeeeeees 64570-0501-10 500.00

acveLovin
CAP, PO, 200 mg, 100s ea.
TAB, PO, 400 mg, 100s aa.

800 mg, 100s e........

(Allscripts)

CAP, PO, 200 mg, 155 ea ..64569-4482-02 15.02
255 Ba... scare §a560-4482-00 25.08
505 @d.......-0000e 64560-4482-01 950.17

TAB, PO, 800 mg, 35s aa. .54569-4724-00 132.31

(Alpharma USPD)
SUS, PO, 200 mg/5 mi,
4B0 mi............00472-0062-16 99.20 Aa

(Aipharma/Xactdose)
SUS. PO (10X5}
200 mg/S ml,
§miS0s U0....... 50862-0453-60 247.20 aa

(Apolhseon)

CAP. PO, 200 mg, 100s ea.S0772-4158-02 106,36 89.57 AB

TAB, PO, 400 mg, 100s aa.59772-4166-02 206.40 173.81 AB
800 mg, 100s ea ..... 59772-4166-02 401,38 336.00 AB

ARAR

(Boscogen}
CAP, PO, 200 mg, 100s ea .62033-0204-10 97.70 AB
400s oa..,.........62033-0204-14 550.70 AB
(Carlsbad Tech)
TAB, PO, 400 mtg, 1005 e2.61442-0112-01 189.60 AB
500s ea... .61442-0112-05 900.60 AB
800 mg, 100s ‘a. O2-0119-01 968.65 AB
500s #a............ 61442-0413-05 1751.09 AB
(Cheshire)
CAP, PO, 200 mg, 25s ea. S5175-5400-02 14.29 EE
TAB, PO, 40Q.mg, 21s aa ..55775-6801-01 9 16.70 EE
(ESE Lederle Generics)
CAP, PO, 200 mg, 100s ea.59911-5831-03 97.70 AB
TAG, PO, 400 mg, 1005 02. 50011-3463-04 189.61 AB
800 mg, 1005 4a ..... §9911-3164-04 368.70 AB
(Giaxo Wellcome) See ZOVIRAX
(Meridian Chamical)
POW, (U.S.P}
25 QM. etree eee 62901-1004-01 150.00
400 gm..... eee 62991-1004-02 450.00
(Mova)
CAP, PO, 200 mg, 100s ea .§5370-0557-07 106.36 ag
1000s aa oo... §5970-0557-09 977.00 Ag
TAB, PO, 400 mg, 100s ¢a.65376-0555-07 206.40 AB
1000s ea .......... S5S700555-09 1895.00 AS
$00 mg, 00s ea..... S5376-0556-07 401.33 AB
500s a4............ S5370-0556-08 1854.25 AB
(Mylan)
CAP.PO, 200 mg, 100s ea .0378-2200-04 111.67 AB
500s €4.-.......... 00378-2200-05 530.46 AB
TAB, PO, 400 mg, 100s ea. O0376-0253-01 216.72 aa
600 mg, 100s ea ..... Q0373-0302-04 421.42 AB
(Novopharm) ‘
CAP, PO, 200 mg, 100s ea. 55553-0040-40 97.20 Ag
500s ¢3...-........ 55959-0940-70 461.70 aa
TAS, PO, 400 mg, 100s 4a. §9953-0943-40 188.60 AB
SOs aa... cece §5953-0043-70 895.85 AB
800 mg, 100s ea .....55959-0947-40 366,65 AB
SO0s aa.. - S5959-0047-708 1741.59 AS

A Perry err ae

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X PRODUCT LISTINGS

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PT: te] Feat ALL Eee eds ood Ta] BY bh LV eee) oe) 1 a2, bd
(PD-RX Pharm) {Bartek}
CAP, PO, 200 mg, 10s ea..S5200-0273-10 7.38 AB | IMJ, Wd (VIAL)
258 4d....-...0+0. SS209-O279-25 19.85 4a 50 maim,
35s ea.. "1 55289-0272-35 20.79 AB fo mi 105........6 B2794-0401-97 230.00 EE
ne pan aa veeetaverne ee aon a a 20 mi 108,...-..06 62794-0403-87 430.00 FE
AB, PO, mq, 10s ea .. 5528 10 .
125 Bo. veeseeeaes SS269-O462-12 11.37 ag | (£5! Lederle Genarles}
155 63 ""g52g0-0482-15 12.11 aD (NJ, W(S.0.¥,, REDI-AN US..P-F}
253 8a _.-55289-0482-25 14.63 aa 5 mgm,
905 Ba... cece 65280-0462-30 | 16.35 AB 100 mi 105 ........ sugtt-2468-02 587.99 469.91
ipar) 200 mi 108 .....-.- BoO11-2464-02 1174.74 939.79
CAP. PG, 200 mg, 100s ea, 40884-0585-01 111.67 ag | (Faulding Pharm) ADEFLOR M (Keawood)
TAB, PO, 400 mg, 100s 2a .A9@84-0566-01 216.72 AB | IN, WW (VIAL) sod Hil, malt
800 mg, 100s ea ..... AQGR4-O507-01 421.42 AB 25 maim 7 ven 490.04 CTB, PO, 1 mg, 100s ca .. 482-0105-01 36.99
(Pharma Pac} ml VO8..-------- 93-0311 : ADENINE/DI SOD PHOS/INOSINE/MONG SOD
CAP, PO, 200 mg. 25sea..S2860-0617-25 17.48 AB 40m 10s......-.-- B170S-0311-43 954.00 PHOS/PYRUVATE
3s a lice se 5 2959-$517-90 20.10 ag | (Gonsta) {Cytusal) See REJUVESOL
TAB, PO, 400 mg, 1 sea. . S2059-0544-1 20.99 AB PDI, LI {VIAL} ADENO-JEC (Hauser,A.F.
B2g5e-0544-12 24.63 Aa 500 mg, 10 aa ...... Q0703-8104-03 125.00 aP | adenosine Caen
-. $2050-0044-15 30-15 AB 1000 mg, 10s ea....- 0703-8106-03 232.50 AP Nd, KW (M.0.V}
-RRUSR-GEMA 1 AOA | (Glaxo Walleome) See ZOVIRAX 25 main, 10 mt .,...B2637-0600-10 14.98
erese-os4d-29 56.96 AS | ADAGEN {Enzon} ADENOCARD (Fujisawa)
$2050-0544-50 90.46 AB | pegsdsmase bovine weg v.eF)
(Pays Total Care) IN. 0 41.500 mi... S7685-0001-01 2200.0 , i gin, 2 mi... veep. 00460-0872-02 39.35
CAP. PO, 200 mg, 255 ea. 54868-3098-08 = 6.67 EE 0 wml, 1.500 mi... 5766S" (SRNLUER TIPE)
30S #8... += SAREE ROGE- ATE EE | ADALAT (Gayar Pharm) 3 maim, 2 mi......--OM6R72012 95.28
f 406 @8,..... 028 54e68-3906-01 12.49 £E altediping 5 m.. vceccuteceane 004e9-7234-14 69.05
TAB, PO, 400 mg, 305 oa ..54860-3007-00 | 14.97 FE SEE SECTION 7 FOR COLOR PHOTO
800 mg, 305 ea .....-SA0GE-O0E-00 30.71 EE | CAP. PO, 10 mg, 100s 0a..OO02E-O511-51 53.67 An | (Allscripts)
(Purepac) 100s ca UD ........00025-88tt-4a 59.81 AB
CAP, PO, 200 mp, 100s ea .00220-2605-11 99.25 AB 3008 2....... “" g0g26-0811-18 | 157.74 ag | IM, W{S.0.4)
08220-2606-50 496.25 AS | ,DALAT CG (Bayer Pharm) 3mgiml, Zml........ B4560-3745-00 93.35
are Se hinsa a alledipine ADENOSCAN (Fujlzawa}
eozza-2e07-11 370.85 Az | SEE SECTION 7 FOR COLOR PHOTO adengsing
“poeze- 2607-50 1854.25 AE | TER. PO, 30 mg, 100s ea..0@u26-a841-61 120.16 pp | I, W (SDPF)
; . . 100s es UD ........ 0020-41-48 126.16 ac 3 mg/ml, 20 mi......- O0460-0871-20 155.00
: {Quality Care} 1000s 4a .. pgoze-8041-54 1201.61 ac 30 ml... 00486-8871-90. 223.75
GAP, PQ, 200 mg. 25s ea , 62882-1021-02 18.13 EE 5000s #2 ..... 00026-5841-72 6008.07 ac
AB, PO, 400 mg, 10s 6a... 62682-1020-01 = 15.99 EE 60 mg, 1005 eg ...... 00026-6857-51 205.90 BC
veeeeseiees B2602-1920-05 16.06 EE 1003 ea UD .......-O0020-8851-48 216.19 BC
vigeeeeeeunes 62682-1020-08 12.13 EE 1000s 22... 0OGR6-B851-54 2058.99 ac
anbaxy Pharm) $0008 #2 ........5. 00028-8851-7210294.96 B
PO, 200 mg, 100s ea. 63304-2652-05 106.26 AB 90 mg, {00s ea .,.,.,D0026-8861-61 249.80 be. | {Fujlsawa) See ADENOCARD
ns pits a. ooo sss0e-De52 08 505.25 ss 1003 ea UD......-. OON2EeE81-48 262.31 wc | (Fejlsawa] See ADENOSCAN
PO, 400 mg, 100s #a . 63304-05 ADENOSINE PHOSPHATE (Consolidated Midlend
coe a an cexaeeasieni 40137 AB | (aust) eA) t }
: stele) 09 UD sss saaed-bs0s-60 401.57 Al | TER PO, 20 mg, 30s ea...S456P-SE91-00 97.85 ae 25 mgfmi, 10 mil .....00222-7247-40 11.95
Schein 4005 8a.....--..--4 §4960-3801-61 117.91 ac FE
PO, 200 mg, 1008 ea .60984-2602-01 97.70 40 tomy 30 a A5RH-2002-00 GABE By | (HauserA.F:) See ADENO-JEC
TAB, PO, 400 mg, 100s ea. 60364-2080-01 189.60 AS 90 mg, 30s ea......-. 54580-3803-00 78.69 ac (Lagere} See My-0-DEN
S008 8a....... cree 98364-2080-05 900.60 AB [MeGuit)
B00 mg, 100s oa .....00384-2680-01 368.65 AB | (Cheshire) (WJ. W (M.0.¥3)
Sixes pharm) soos a goves-azotan 9770 am | TER. PO, 30 mg, 208 0a —g5t76-585-08 40.22 a 25 mpm, 10 ml ...,.49072-0011-10 = 7.19
+ PO. 20 9, 100s aa ee eris 55070 a 60 my, 305 63........ G5175-5086-03 © 64.69 ec +} (Meri)
BAe eeeereres ' 90 mg, 30s #a.......- 55175-5087-03 76.20 gc | INU. 1, 25 mg/m, 10 ml... 90727-182-78 17.85
Phys Tolal Care ADEKOSINE-5S-MONOPHOSPHATE {Medisce}
one99-0044-01 97.70 AB aoe len phosphate
{UDL} TER, PO, 30 mg, 30s ea... B4868-2680-01 47.47 ac 779-0558-03 22.50
GAP, PO (10X10) Gls 64... ‘" BEASE-ZEGS-80 93.62 gC SA779-0586-04 61.88
AR ~ ma. 100s ea UD. S1070-0676-20 99.15 79.32 AB 1005 ¢a " gauee-2880-02 145.93 ac Q8TIQ-O556-05 222.75
. PO, 400 mg, 60 mg, 303 ea “sause-2eeg-03 75.23 ac
100s ea ........ Gi1GTO-O877-20 194.40 155.52 AB _. "Fagea 2860-00 149.12 BC
800 mg, 100s ea UD. 51079-0878-20 365.10 264.10 AB a sree 203.96 a POW, 10 MMs oensvetee saner-zie2-s! ne
tao) 100 goses-oass-01 218.72 FE 90 mg, 05 ea.....-.+ SAE8-2870-00 © 90.99 Bc 100 gm. ....-.00 "7" 62091-7162-03 555.00
, PO, 400 mg, TOs 8a. . Quality Care) ADHESIVE
beues 1.
800 mg, 1008 ¢a «....S25M-03I6-81 421.42 (AJ Medical) See DERMIVIEW HYPOALLERGENIC
anita Goldline) TER, PO, 30 mp, Kis ea... Q2582-5020-02 51.64 ec | ADHESIVE
1 Po, 200 bm 100s ea. 49172-4268-60 10638 a 60 mg, 305 @a.....--. $2082-8021-02 68.52 BC | apiPEX-P (Gate)
AB, PO, 400 mg, 100s ea, $0172-4267-80 206.40 ag | ADAPALENE pheatermlae hydrochloride
5008 fa... .------- gor72 427-70 401 a a {Galderma) See DIFFERIN aE SECTION 7 FOR COLOR PHOTO
tenes AZG0-69 401. ADDERALL (Shire Richwood} . PO, 37.5 mg,
ACYCLOVIR SODIUM (AFP) amphetamine & dextroamphetamine mixture aa pa? nen vee S7844-0015-01 127.45 AA
, PO, 5 mg. PM, ao
cee SA521-0031-01 33. 100s aa, CV ......57844-0000-01 125.21 AA
pee eae ae Wen aac ' “ 400s ea, C-IV...... §7844-9000-28 | 475.89 AA
ventas: 69323-0108-10 56.51 EE 1005 ea, C-il...,...58524-0892-81 62.50 1000s 4a, G-IV ..... SPEA-G809-10 1024.59 AA
20 mg. Allscripts}
100s ea, G-ll.....-. §8521-0032-01 107.05
pas74-1900-18 466.09 392.50 AP 0 mg, TAB, PO, 37.5 mg,
‘VIAL, FLIPTOP] 09 382.50 100s ea, C-Il......- §8521-0034-01 139.65 145 0a, C-lV.......- 5A569-1718-01 16.85 AA
500 mg, 105 aa ...... Q0074-4427-01 1047.38 882.00 AP Phys Tots! Care} 30s ¢a, GV. .....-- SASSE1718-00 = 36.12 AA
7000 mg, 10s aa .....40074~£652-01 2094.751764.00 AP Cheshire)
Redford) Tas, PO, 5 mg,
DH, J (5.0.V.,P.6) 100s ea, C-ll....... 54868-3976-00 37.65 TAS, PO, 37.9 mg,
500 mg, 105 62 ......55300-8812-10 528.00 ap 10 mg, Ms 0a, C-V.......- 55175-5680-€9 30.00 AA
1000 mg, 10s ea .....58390-0613-20 1058.00 ap 100s ta, C-Ht....... S4868-3674-00 64.55 O0s oa, G-IV.......- S5175-6980-09 90.00 AA

PURDUE FREDERICK

AN(e) (eM ES Cui When the Ry May Constipate:

a
ANNUA RODUCT LISTINGS

Le a rs) isla A

wonimed) See PURELINE BASIC INFUSION W/O BUT-
AFLY

ech

ranimed) Seo PURELINE COMFORT DETACHABLE
USION

Bironimed) See PURELINE CONTACT (INFUSION

ntee) See ADMINISTRATION SET W/IN-LINE FILTER
dintec) Sea EXTENSION SET W/1.2 MICRON FILTER
Gay) See ACE AEROSOL CLOUD ENHANCER

) See ASTECH PEAK FLOW METER

) See EASIVENT MASK

) Sea EASIVENT VALVEO HOLDING CHAMBER

MATRIC

7A DEVICE
HETER

uy ) See EASIVENT VALVED HOLDING CHAMBER
Pont Pharm.} See VIASPAN COLD STORAGE/FLUSH-
‘ALY SIS Kk) Sea MANOMETER
Toa widlag Pharm) See RAPI-JECT INJECTOR
PIGGY- ding Pharm) See S.P.A.A. PUMP SEGMENT
Forest Pharm) See AEROCHAMBER
ZDIATRIC ay netics) See GYNOSAMPLER
MARY IV jolllsier-Stiat) See OPTINALER CLEAR
lister-Stler) See PEASOWAL BEST PEAK FLOW
ETER
PUMP i Madical) See PROTECTIVE SAFETY INTRODUCER
P FILTER Were
Medical} See S-ENTRY DAY MAT
WeOL dal Co) See ARGYLE QUEST DUO-TUBE
fendall Co) See DOVER
dal Co) See DOVER CLEAN CATCH KIT
dali Go} See OOVER DRAINAGE BAG
dull Co} See DOVER FOLEY
dal Ca) See DOVER FOLEY CATHETER INSERTION
andail Co) See DOVER FOLEY TRAY
aadall Co) See DOVEA LEG BAG
ow dal Co) See DOVER URINE METER
LHP FIL. jeadalt Co} Seo KANGAROO
dal Co) See KANGAROO PET
OGLYC- adall Co) See MONQJECT
} See INSPIREASE
#AaY IV lor) See PISTON PUMP it VACUUM ERECTION
reo nator) Sea RESPONSE if VACUUM ERECTION SYS-
L jentor) See TOUCH fi VACUUM ERECTION SYSTEM
OBORE in Tech} See MIST ASSIST BREATHING EXEACIS-
CHP fla Tech) See MIST ASSIST MD!
tin Tach) See MIST ASSIST MDI ACTUATOR
IF-OL In fech) Sea MIST ASSIST MDI/NEB
YBACK erila Tach) See MIST ASSIST NEB
ox Iv {MlnlMed) See MINIMED SYRINGE RESERVOIR
iMad) See POLYFIN NEEOLE INFUSION
alMind) See POLYFIN GA NEEDLE INFUSION
N inlMed} See POLYFIN TUBING EXTENSION
MiniMed) See SILHOUETTE NON-NEEDLE INFUSION
FILTER MlalMud) See SOF-SET NON-NEEDLE INFUSION
Med} See SOF-SET OR
\CER MiatMad) Ste SOF-SET OR NON-NEEOLE INFUSION
Ravartis Pharm.) See BRETHANCER
{AMBER med) See INFUSION SET W/DRIP CHAMBER
med) See MYELOGRAM TRAY
Owen Murnterd) See RAPPORT AING LOADING SYS-
4SPENS- EM
ween Mumtord} See AAPPORT VACUUM THERAPY
G PIN EVIE
“SET ss Nutr) See ROSS FLEXIFLO INVERTA-PEG BASIC
c # Hak) See ROSS FLEXIFLO INVERTA-PEG COM-
#Bur- se Nutr} See ROSS FLEXIFLO LAP JEJUNOSTOMY

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{Ph ro Care)

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eat ety cA Lv nst8
(floss Nutr) See AOSS FLEXIFLO LAPAROSCOPIC

{SDI Lebs) See-POCKET CARE IRRIGATORS
(Scandipharm) See FLUTTER

(otepak, Medical} Sea GRAVITY IV FILTER-PRIMARY
SOLU

(Solopat Mectet Sea HUBER NEEDLE STANDARD SITE
WATUBING

(Solopak Madicai) See HUBER NEEOLE W/Y-SITE
W/TUBING

(Solopak Medical) See INJECTION PORT TRANSPARENT
RECESSED

{3ulopak Medical} See INTRODUCER PEELAGLE NEFOLE
(Solopak Medical) See fl EXTENSION

(Solopak Medical) See {V EXTENSION W/ANTI-SIPHEN
VALV

(Selopak Medical) See !V FILTER W/Y-SITE
(Sotopak Medica!) Sea iV FILTERS W/EXTENSION

(Solopak Medleal) See MAXCESS J-LOOP MINIBORE
EXTENSION

(Salopak Medical) See MAXCESS NEEDLELESS MALE
LUER CAP

(Solopak Medical) See MINIBORE |,V, EXTENSION
(Solopak Medical} Sea MULTIPLE ADMIXTURE TRANS-
FER

(Solopak Medical) See PARAGON ADMINISTRATION
(Salopak Madical) See PARAGON CARRYING CASE

(Sotopak Madleat) See PARAGON ELITE PORTABLE

INFUSION

(Salogak Medical) See PARAGON PORTABLE INFUSION
(Solopak Medical) See PARAGON SINGLE-USE PVE BAG
(Solapak Medical) See SIDEKICK CARRYING CASE
(Folopak Medical} See SIDEKICK MULTI-USE

{Bonpek Medical) See SIDEKICK MULTI-USE PVE LV

(Solepak Medical) See SIDEKICK PORTABLE INFUSION
(Solopak Medleal) See SIDEKICK SINGLE-USE PVC BAG
(Solopak Medical) Ses SIDEKICK Y-ADAPTER

{¥IWU8) See ACTIS

(WE Pharm) See &-Z SPACER

(WE Pharm) See £-2 SPACER & MASK COMBO

(WE Pharm) See &-Z SPACER MASK

(Woodside Blomedicel) See AELIEFBAND Wa-2
(Woodside Blomodical) Sae RELIEFBAND W8-6
(Woodside Biomedical) See RELIEFEAND W8-R
(Wysth-Ayarat) See TUBEX

DEVICE, INJECTION
(APR) See LOVENOX EASYINJECTOR SYSTEM

DEXACIDIN (Ciba Ophth)
Gaxameth/neo sulf/palymyx
Sus, o “ me 3.5 mg-70,000 uml,

bet aee een naeees 58768-0260-06 = 11.61 aT

SUS, OP, 1 mg-3.5 mg-10,000 wml,
SM eas §4888-1999-00
DEXACINE (Ciba Optth)

dexemelt/neo suli/polymyx
OIN, OP, 1 ng-3.§ mg- $0,000 uigm.
3.500 gm.. - 58788-0252-36 = 10.58 AT

DEXAMETH sop PHOS/NED SULF (Allscripts)
SOL, OF 1 ames. 5 moa,
Smi..

13.70 aT

»54569-1230-08 = 14.69 cE

(BausehéLomb | Pharm)
SOL, * 4 nes. 5 mo/retl,

wet tte eee ec ees 24208-0955-80
(consonuaiea Midiand)
SOL, OP. 1 mg-3.5 mg/m,

S Mb... eee 08223-6753-05 8.50 cE

(Major) See NEO-DEXAMETH
(Marck) Sea NEO-DECADAON OCUMETER
{Pharma Pas)
SOL. oP . mas. 5 mg/m,

sey renetee eens §2959-1987-03 9.85 aT

14.69 aT

275/DEXAM

atest a ce hg

tl

{Phys Total Care}
SOL, oP t no3.5 mami,
see en etn enaeaes 34868-25957-00

(Guattes See NEQ-DEX

(Raway)
SOL. OP, t mg-3.5 movml,
Sm. O0556-0955-60 «| 6.75 EE

(Southwood)
SOL, OP, 1 mg-3.5 mg/ml,
BM... eraees eee 63016-6049-05

DEXAMETH/NEO SULF/POLYMYXK
GIN, OP, 1 mg-3.5 mo-10.0 000 20 wom
3.500 gm...
(Akorn) See AK- TROL
(Alcon Opkthatmle} See MAXITAOL

(Bausch&Lomb Pharm)
OIN, OP, ¢ mg-3.$ mg-10,000 u/gm,
3.500 gm... 24208-0799-35 3.00 aT
SUS, of 4 ma's. 5 mg-10,000 wimi,
seatasenaenees 24208-0830-60 8.00 AT

(Cheshire Sea NEGPOLYDEX
(Glha Ophth) See DEXACIOIN
(Clos Ophih) See DEXACINE

{Consolidated Midland)
SU8, OP, 1 mg-3.5 mg-40,000 u/mi,
BM as 00223-6754-05 6.75 EE

(Falcon Ophthalmics)
ON, OP, 1 mg-3.5 mg-10,000 wom,

3.500 gm..........61914-0831-38 8.00 aT
SUS, OP (DROP-TAINER)

1 mg-3.5 mg-10,000 u/mi,

SM... 61374-0830-06 3.00 AT
(Fougara)
GIN, OP. 1 mg-3.5 mg-10.000 u/gm,

3.500 gm.......... 00168-0221-38 8.15 ar
{Major}
OIN, OP, 1 mg-3.5 mg-40,000 w/gm,

3.500 gm.......... O0904-7938-38 7.25 aT

{Major) See METHADEX
{Ocumad) See OCU-TAOL
(Ocusott) See POLY-DEX

(Pharma Pac)
OIN, OP, 1 mg-3.5 mg-10.000 wom,

3.500 gm -52059-0407-01
$US, OP, 1 nos. 5 mo 10) O00 u/mt,

FM eee §2959-1320-11

(Qualttest
SUS, * . mae. 5 mg-10,000 u/mi,
test eeneet rene G0603-7120-37 7.72 aT

(raw)
GIN, OP, 1 mg-3.5 mg-10,000 u/gm,
3.500 gm ........2. ‘D0686-0795-55 7.50 EE

(Southwoud)
‘QIN, OP, T mg-3.5 mg-10,000 wgm,

3.500 gm... 68076-6039-03
SUS, OP, 1 ™ 3.5 mg-10,000 wim,

5m

14.74 EE

15.56 EE

17,55 EE
19.06 cE

27.25 EE

26.50 cE
16.95 EE

(URL) See DEXASPORIN
(Zenith Galdiina)
SUS, oF 1 mg-3.5 mg-10,000 u/mi,
PUL. eeu eee eee 011 82-7023-52 7.79 aT

DEXAMETH/TOBRANYCIN
(Alcon Ophthalmic} See TOBRADEX

DEXAMETHASONE

Cok
ELI, PO, 0.5 mg/5 mi,

TOO Mesniittsescscesesescssennnesictne 1118

S14 \(6) (oy mm eb cue When the Ry

PURDUE FREDERICK

May Constipate:

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DEXAM/276

Lior

(Alcan Ophthalmis) See MAXIDEX
(Allzeripts}
ELI, PO, 0.5 mg/S mi,
WO ml... 54569-1034-00
TAS, PO. 0.75 mg, 125 ea .$4569-9322-00
(DOSE PACK)
0.75 mg, 128 2a UD ,. 54889-3110-00

208 @@.... 64669-0222-03
2 mg, 65 a2. +e 54550-0334-01
4mg, 65 aa, - $4500-0924-04
Ssea... - 64569-0324-07
Ida... 64609-0324-06

{Alpharma USPO)
ELI, PO, 0.5 mg/5 mi,

100 Mie. 00472-8072-33
20 mt... 00472-0072-08
{Cheshire}
ELI, PO. 0.5 mg/5 mi,
SOM... §6176-1855-02
100 mi . 65978-1856-03
120 mi 55175-1858-00
TAB, PO, 0.75 mg, 7s aa... §5178-1342-07
(DOSE PACK)
0.75 mg, 21s a2...... §5175-1104-01
245 0a... STG S2 Dd
.. HTB 1941-06
-- 85178-1341-02
: vs BB175-1944-01
MEM §5176-1941-09
(Consolidated Midtand}
ELI, PO, 0.5 mg/S mi,
100 mi... 00223-8496-01
240 ml. 00223-408-02

TAB, PG, 0.5 mg, 100s ea, .09229-0790-01
0.75 mg, 1005 @a..... 00223-0701-01

10003 4a: -- 00223-0701-02
1.5 mg, 100s aa......00223-0792-o1
(Galtipot)
POW, 1OM.......0. 2... 61552-0430-07
Som. 61562-0430-05
{Major}
ELI, PO, 0.5 mg/5 ml,
240m oe, 00004-0972-09

TAG, PO, 0.5 mg, 100s 2a. .00904-0243-80
0.75 mg, 100s 4a..... 00004-0244-60

4mg, 100s ea........ O0904-0240-69
(Madisca)
POW, (U.S.P,, MIGRONIZED)
TOM... 38779-1405-06
Sgm.. 38779-0405-03

10 gm. « 30779-04051
25 gm. +. SO77H-0405-04
TWO gM... 35779-0405-05

(Marck) Sea DECADAON

(Moridian Chemical}

POW, (MICRONIZED, U.S.P)
TOM), 62993-2022-01
Sqm... .. -- 62991-2022-02
10 gm - +, 82991-2922-53
25 9M..........000.. 62991 -2022-04

{Morton Grove}

ELI, PO (RASPBERRY)

0.5 mg/5 mi,
240 Meo... 60432-0466-08

(PD-AX Pharm)

TAG, PO, 0.75 mg. 105 24. 56289-903-10

208 @a.. 55269-0903-20

{Par)

TAB, PO, 0.25 mg, 100s sa 49884-0083-01

1000s ga .......... #984-082-10
0.5 mg, 100s ea... ... 49884-0084-01
1000s ea 2... 45864-0084-10
0.75 mg, 100s ¢a...., 40004-0085-01
10008 @a 2.2.2... 48864-0085-16
1.5 mg, 1005 8a......49884-0086-07
1000s ea... -- 40884-0086-10
4mg, 505 ea . -49884-0087-03,
100s ea...., - 49984-0037-01
1000s ea ... -49884-0087-10
6 mg, 50s ea. .  49084-0129-03
WOs aa... 0.2... 9886-0120-01

11.08
1.75

724
2.92
3.30
1.60
4.67
7.01

11.08
19.51

6.46
8.16
8.16
2.00

4.50
5.22
4.20
4.00
10.35
14.25

7.50
17.60
6.75
7.50
67.50
15.00

23.40
95.82

15.95
10.99

6.65
22.54

14.63
55.13
102.38
237,368
855.00

36.00
129.00
246.00
555.00

23.50

3.38
471

11.05
$1.20
21.00
179.25
40,00
330.00
76.00
627.00
95.80
182.00
1801.50

102,00.

193.80

BF
oP

acc DT

(Pharma Pac}
TAB, PO, 0.75 mg, 12s aa. .52959-0392-12

215 48.0 62059-1504-21
288 @8. ee, 52050-0302-25
(Phys Total Cars)

TAB, PO, 0.75 mg, 305 ag. . 54868-0976-00
1.5 mg, 100s 9a...... 54064-1744-00

4mg, ls ¢a......... 54968-0216-01
(Qualitszt)
ELI, PO, 0.5 mg/5 mt,
240 moos 00803-1145-56

TAB, PO (DOSE PACK}
0.75 mg, 128 @a...... 00403-3491-11
1.5 mg, 100s aa,.,...00403-3192-21

pave eeeaeeeees 60346-0977-31

TAG, PO, 0.5 mq, 12s fa.. .60346-0986-12
0.76 mg, 12s ea,..., .60948-9580-12

18s aa.,.., G0346-0550-15

305 ea 60346-0550-20

2 mg, 55 6a §2682°5000-02

4mo, 6s #a
Ss aa...

15s ea... - 00848-0479-15
195 ea... . 00346-0479-19
508 da. 80348-0470-50
(Aoxane)
SOL, PO (CHERRY)
0.5 mg/5 mi,
S mi 408 U0 .......00064-6177-18
500 mt... a, 00054-3177-63

TAB, PO, 0.5 mg, 100s ea. 10084-4179-25
(10X10)
O.5 mg, 100s ea WD .. 00054-8179-25
10

00s 68.2... O0CEE4I79-91
0.75 mg. 100s ea..... 00084-4100-25
(10X10)
0.75 mg,
WOseaUO......., 00064-8180-25
1g, 1005 ea........ 00084-4181-25
{tOX10)

1g, 100s ea UD... .00064-8174-25
1.5 mg. 100s aa....., 00084-4182-25

(10410)

1.5 mg, 100s 2a UO. .00054-6181-25
2 mg, 100s ea......., 00084-4133-25
(10X10)

2 mg, 100s 2a UD... O0054-8176-28
4g, 1005 ¢a........ 00054-4184-25
(10X10)

4g, 100s aa UD. 00054-8175-25
& mg, 1005 #a........ 00064-4185-25
(10410)

6 mg, 100s aa UE... 00084-8183-25

VS ee Lo
8.95 EE
4.01 EE

19.54 EE
3.01 EE
a4 EE
3.03 EE

14,70 AA
7.24 oP

13.50 oF

11.09 EE
4.46 EE
7.79 EE
9.74 EE

19.46 EE
945

11.28 EE

15.04 EE

28.21 EE

95,72 EE

93.85 EE

25.78

17,58

12.01 Ag

16.49 an
117,87 ag
14.61 Aa
18,94 AB

26.00

4.21

27.14 AB

31.99 AB

56.60

58.00

54.41 Ag

62.05 Aa

90.38 oF

97.34 oP

(Roxane) See DEXAMETHASONE INTENSOL

(Southwood)
ELI, Pd, 0.5 mg/S mi,
WOM. 58036-0380-20
TAB, 70, 0.5 mg, 100s ¢a. . §8018-0299-00
0.75 mg, 125 aa...... 86096-0293-12

15gea........ + 5B018-0203-15
205 ea --  §8016-0293-20
40s ea -. 58916-0293-30
100s ea..... - §8016-0293-09
4 mg, 10s ea.. - 38016-0781-10
12s ea...... .. 50018-0781-12
145 82 -- SH0416-0781-14
155 4a...... - 58016-0781-15
208 #8... 58015-0781-20
218 8... SS01G-0781-21
245 ea... - 58016-0781-24

28s ea 53016-0761-28
0s ea «  §8016-078-30
40s ea. -. 58018-0781-49
508 @a..... 2.0... 58016-0781 -5¢
(URL)
ELI, PO, 0.5 mg/S mi,
240 ml... 00577-0601 -42
TAG, PO, 4 mg, 100s #2... O0B77-0849-01
(¥intage)

TAB, PO {DOSE PACK}

0.78 mg, 125 ea...... 00254-2667-08
(Zenith Goldline)
TAG, Pd, 4 mg, 100s ea... 004 82-1674-01
DEXAMETHASONE ACETATE
(CHat) See CORTASTAT LA

ae, sees ee Melero) SA Ole ae

SPREE (21111) yet 0) =F

9.63
15.9

9.35
11.69
15.58
23.38
77.92
21.40
25.68
29.96
42.10
42.80
44.94

51.36 -

59.92
64.20
85.60
107.00

15.75
37.05

7.24

37.17

BP

bP

2000 RED BOOK ANNUAL

a nie
(Consolidated Midfand)
TA, ld CAL)
B mo/ml, § mi........00224-7390-05
(Gallipot)
Pow, (MICRONIZED,U.S.P}
TOM ee ~ 81552-0024-01
Som... §1552-0024-05

10 gm §1652-0024-10
259M... ee 51552-0024-28
(Hyrex) See SOLUREX LA
(Keane) Sea GEXONE LA
(Lagera) Sea DEXASONE L.A.
{Major) ,
IN, FJ (VIAL)
6 mg/ml, Smi........ 00904-0908-05
(McGuff)
Vd, dd (M0)
& mami, § mi... 49072-0165-05

(Merz) See DECAJECT LA

(Phys Total Care)
1AM, Ld (VIAL}
8 mg/ml, § mie... 64868-3077-09

(Paddock)
POW, {MICRONIZED, US.P)
OOM. 00574-0409-10

Ct es
11.50 EE
27.00
71.76

766.00

378.60
29.03 BP
18.98 EE

17471

DEXAMETHASONE INTENSOL (Rexene)

dexamethasone
CHT, PO, 1 mg/ml, 30 mi .. 0084-31784

(APP}
INU, W (VIAL)
4 mgmt, tml...

-69923-0185-01
+ 63323-0165-05
BOM eee 63323-016$-30

{Abbott Hosp)
INJ, 1d (M.0.¥,)
10 mgmt, 10 mi... 00703-3524-01

(Akom) See AK-OEX
(Allscripts)

SOL, OP, 0.1%. 5 mi. ..... B4569-1224-00
WJ, (5.0.4)
4 mgfmi, 25 mi....... §4566-4726-00
(MOV)
Amog/oul, 30 mL, .....54509-3040-09
(Amar Regent)
IMJ, I (8.0.4)
4 mpm, 1 mt 25s....00647-4901-25
(M.D.V)
4 mg/m, 5 ml 25s. ..,.00817-4905-25
30 mi 28s....0..... 00517-4930-25

(Bausch&Lomb Pharm)
SOL, OP. 0.1%, $mi...... 24208-0720-02

{Cheshira)
OIN, OP 0.05%, 3.500 gm_.55175-4208-00
SOL, OF.0.1%. 5 mi... 55175-4205-60

(Clint} See GOATASTAT
(Clint) Sea CORTASTAT 10

(Consolidated Midiand}
TNg, ld (AMP)

4 mg/ml, 1 mi 25s... .00229-7401-25
(DOSETTE)
4 mogfmi, 1 mi 25s... -00229-7407-01
Tmi100s,........, 00223-7403-01
(VIAL)
4mo/mi, S m......., O0225-7464-05
1Om......., -00223-7408-10
25m... -00223-7406-25
3mi...... -O229-7402-30
SOL, OF, 0.1%, S mio... 60223-6445-05
Hale. 00223-S498-15

17.30

14.80
27,19
15.96

27.19

34.69
195.94

15.88

6.47
6.14

25.00

31.25
60.00

275
4.00
7.00
5.50
3.75
3.50

29.28

LN are COhY a (86

